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                                        United States District Court
                                                                                   FILED
                                              Western District
                                       Exhibits Log: A-18-cv-978 RP               OCT 2 7      2021
                                 Haas Outdoors v Dryshod et al, 10/25/2021
                                                                                      U $ DISTRICT CI.ERIc
                                                                             C1RK
                                                                                          DOF         TEXAS

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Pla-1    20 Sep 2000 Donohue Letter                                          No

Pla-2    21 Sep 2000 Donohue Fax                                             No

Pla-3    21 Sep 2000 Muck Boot Application                                   No

Pla-4    21 Sep 2000 Email to Donohue                                        No

Pla-5    27 Sep 2000 Letter with License App to Donohue                      No

Pla-6    20 Feb 2001 Muck Boot License                                       No    10/25/2021   10/25/2021
                                                                                   11:10AM      11:12AM
Pla-7    24 Jul 2001 Email to Donohue                                        No

Pla-8    3 Dec 2001   Letter to Donohue re New Break Up Launch               No    10/25/2021   10/25/2021
                                                                                   11:37AM      11:37AM
Pla-9    6 Apr 2017 Donohue Email                                            No

Pla-lO   Dryshod Name Ideas                                                  No    10/25/2021   10/25/2021
                                                                                   3:08 PM      3:08 PM

Pla-li   Dryshod Product Program                                             No    10/25/2021   10/25/2021
                                                                                   2:52   PM    2:57 PM

Pla-12   18 Apr 2017 Donohue Email                                           No    10/27/2021    10/27/2021
                                                                                   1033AM        10:33AM
Pla-13   17 Apr 2017 Donohue Email                                           No    10/25/2021    10/25/2021
                                                                                   12:32 PM      12:35 PM

Pla-14   18 Apr 2017 Dryshod License Application                             No    10/25/2021    10/2612021
                                                                                   12:32PM      8:32AM
Pla-15   27 Apr 2017 Donohue Email                                           No    10/25/2021   10/25/2021
                                                                                   3:19PM       3:26PM
Pla-16   9 May 2017 Donohue Email                                            No

Pla-17   12 May 2017 Donohue Email                                           No    10/25/2021   10/26/2021
                                                                                   3:27 PM      8:32 AM

PIa-18   12 May 2017 Email to Donohue                                        No    10/26/2021    10/26/2021
                                                                                   8:40AM       8:40AM
Pla-19   17 May 2017 Email to Donohue                                        No    10/26/2021    10/26/2021
                                                                                   9:18AM        9:18AM
Pla-20   19 May 2017 Donohue Email                                           No    10/26/2021    10/26/2021
                                                                                   12:08 PM      12:09 PM

Pla-21   19 May 2017 Donohue Email                                           No    10/27/2021    10/27/2021
                                                                                   10:33AM       10:33AM
Pla-22   20 May 2017 Donohue Email                                           No    10/26/2021    10/26/2021
                                                                                   8:40AM        8:40AM
Pla-23   21 May 2017 Donohue Document                                        No

Pla-24   22 May 2017 Donohue Email                                           No    10/25/2021    10/25/2021
                                                                                   2:09 PM       2:10 PM
Pla-25   24 May 2017 Donohue Email                                           No

PIa-26   27 May 2017 Donohue Email                                           No

Pla-27   31 May 2017 Doriohue Email                                          No    10/26/2021    10/26/2021
                                                                                   8:51AM        8:51AM
Pla-28   31 May 2017 Doriohue Email                                          No    10/26/2021    10/26/2021
                                                                                   8:43AM        8:43AM
Pla-29   1   Jun 2017 Donohue Email                                          No    10/26/2021    10/26/2021
                                                                                   8:43AM        8:46AM
         Case 1:18-cv-00978-RP Document 275 Filed 10/27/21 Page 2 of 62
         p            S                                              p           p    p       p



Pla-30   2 Jun 2017 Donohue Email                               No

Pla-31   6 Jun 2017 Donohue Email                               No   10/26/2021      10/26/2021
                                                                     8:51AM          9:08AM
Pla-32   9 Jun 2017 Donohue Email                               No

Pla-33   12 Jun 2017 Donohue Email                              No   10/26/2021      10/26/2021
                                                                     9:00AM          9:08AM
Pla-34   12 Jun 2017 Donohue Email                              No   10/26/2021      10/26/2021
                                                                     9:19AM          9:24AM
Pla-35   12 Jun 2017 Donohue Email                              No

PIa-36   14 Jun 2017 Dbnohue Email                              No

Pla-37   15 Jun 2017 Donohue Email                              No   10/26/2021      10/26/2021
                                                                     9:27AM          9:29AM
PIa-38   16 Jun 2017 Donohue Email                              No

Pla-39   16 Jun 2017 Donohue Email                              No

Pla-40   17 Jun 2017 Donahue Email                              No   10/26/2021      10/26/2021
                                                                     929AM           9:32AM
Pla-41   19 Jun 2017 Donohue Email                              No

Pla-42   20 Jun 2017 Donahue Email                              No   10/26/2021      10/26/2021
                                                                     9:33AM          11:00AM
Pla-43   21 Jun 2017 Donohue Email                              No

Pla-44   28 Jun 2017 Donohue Email                              No

Pla-45   27 Jun 2017 Donohue Email and App                      No   10/26/2021      10/26/2021
                                                                     9:41AM          11:00AM
Pla-46   3 Jul 2017 Donohue Email                               No   10/26/2021      10/26/2021
                                                                     9:49AM          9:49AM
Pla-47   28 Jun 2017 Email to Donohue                           No

Pta-48   1   Jul 2017 Donahue Email                             No

Pla-49   2 Aug 2017 Email   to Donohue                          No   10/26/2021      10/26/2021
                                                                     9:50AM          9:53AM
Pla-50   8 Jul 2017 Donahue Email                               No

Pla-51   14 Jul 2017 Donohue Email                              No

Pla-52   29 Jul 2017 Donahue Email                              No

Pla-53   6 Aug 2017 Donohue Email                               No

Pla-54   6 Aug 2017 Donohue Email                               No

Pla-55   7 Aug 2017 Donohue Email                               No   10/26/2021      10/26/2021
                                                                     10:00 AM        10:00 AM

Pla-56   7 Aug 2017 Donahue Email                               No   10/26/2021      10/26/2021
                                                                     10:01 AM        10:01 AM

Pla-57   9 Aug 2017 Donohue Email                               No

Pla-58   9 Sep 2017 Donahue Email                               No   10/26/2021      10/26/2021
                                                                     10:05 AM        10:13 AM

Pla-59   9 Sep 2017 Donohue Email                               No

Pla-60   15 Sep 2017 Donahue Email                              No   10/26/2021      10/26/2021
                                                                     10:17AM         10:24AM
Pla-61   16 Sep 2017 Donohue Email                              No

Pla-62   26 Sep 2017 Donohue Email                              No

Pla-63   13 Oct 2017 Donohue Email                              No

Pla-64   21 Oct 2017 Donahue Trademark App                      No   10/26/2021      10/26/2021
                                                                     1141   AM       11:41 AM

PIa-65   22 Oct 2017 Donohue Email                              No


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           I                                                           I        I    I



Pla-66     1   Nov 2017 Donohue Email                             No   10/26/2021   10/26/2021
                                                                       10:14 AM     10:17AM
Pla-67     2 Nov 2017 Email   to Donohue                          No   10/26/2021   10/26/2021
                                                                       10:24AM      10:26AM

Pla-68     3 Nov 2017 Donohue Email                               No

PIa-69     3 Nov 2017 Donohue Email                               No

Pla-70     5 Nov 2017 Donohue Email                               No

Pla-71     5 Dec   2017 Matonich Email                            No   10/25/2021
                                                                       11:37 AM

Pla-72     19 Dec 2017 Donohue Email                              No

Pla-73     3 Jan 2018 Matonich Email                              No   10/25/2021
                                                                       11:37 AM

Pla-74     3 Jan 2018 Donohue Email                               No

Pla-75     29 Jan 2018 Donohue Email                              No

Pla-76     30 Jan 2018 Doriohue Email                             No

PIa-77     31 Jan 2018 Donohue Second Trademark App               No   10/25/2021
                                                                       2:53 PM

Pla-78     3 Feb 2018 Donohue Email                               No

Pla-79     9 Feb 2018 Email   to Donohue                          No

Pla-80     25 Feb 2018 Donohue Email                              No

Pla-81     5 Mar 2018 Donohue Email                               No

Pla-82     5 Mar 2018 Donohue Email                               No

PIa-83     8 Mar 2018 Donohue Email                               No

PIa-84     12 Mar 2018 Srednicki Email                            No

PIa-85     12 Mar 2018 Hahn Email                                 No

Pla-86     22 Mar 2018 Donohue Email                              No

Pla-87     11 May 2018 Donohue Email                              No

Pla-88     15 May 2018 Srednicki Email                            No   10/26/2021   10/26/2021
                                                                       10:30AM      10:33AM
Pla-91     10 Sep 2018 Email to Donohue                           No

Pla-93     25 Feb 2019 Veil Camo License                          No   10/26/2021   10/26/2021
                                                                       2:34 PM      2:37 PM
PIa-95     31 May 2019 Donohue Email                              No

Pla-96     Cert 1525739 Mossy OAK word design mark                No   10/25/2021   10/25/2021
                                                                       9:54AM       9:54AM
Pla-97     Cert 2003245 MOSSY OAK word mark                       No   10/25/2021   10/25/2021
                                                                       9:54AM       9:54AM
Pla-98     Cert 2109659 BREAK UP word mark                        No   10/25/2021   10/25/2021
                                                                       9:56AM       9:56AM
Pla-99     Cert 2227642 MOSSY OAK word design mark                No   10/25/2021   10/25/2021
                                                                       9:55AM       9:55AM
Pla-100    New Break Up Copyright Registration                    No   10/25/2021   10/25/2021
                                                                       11:04AM      11:04AM
Pla-101    Cert 2686006 NEW BREAK UP word mark                    No   10/25/2021   10/25/2021
                                                                       9:54AM       11:09AM
Pla-102    Cert 3908228 BREAK UP INFINITY word mark               No

Pla-103    Cert 4632533 MOSSY OAK word mark                       No

Pla-104    Cert 4740743 BREAK UP COUNTRY word mark                No

Pla-105    Cert 4749605 BREAK UP COUNTRY word design mark         No




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           I          I                                                I        I    I



Pla-106    Cert 5171334 MOSSY OAK word design mark                No

Pla-107    Cert 5561165 MOSSY OAK word mark                       No

Pla-108    Cert 5561166 MOSSY OAK word design mark                No

Pla-109    Cert 5651539 MOSSY OAK word mark                       No

PIa-114    Physical MOBO Boots                                    No   10/25/2021   10/25/2021
                                                                       1:54PM       1:57PM

Pla-115    Physical New Break Up Camo Paper                       No   10/25/2021   10/25/2021
                                                                       11:09AM      11:09AM

PIa116     Digital New Break Up Camo TIF                          No   10/25/2021   10/25/2021
                                                                       12:07 PM     12:07 PM

Pla-117    Digital New Break Up Full                              No   10/25/2021   10/25/2021
                                                                       1:42PM       1:42PM

Pla-118    Digital New Break Up Mini                              No   10/25/2021
                                                                       11:44AM
Pla-119    Physical New Break Up Mini Fabric                      No

Pla-120    Physical New Break Up Full Fabric                      No

PIa-121    Physical New Break Up Full Fabric                      No   10/25/2021   10/25/2021
                                                                       1:42PM       1:42PM

Pla-122    Physical New Break Up Mini Fabric                      No   10/25/2021   10/25/2021
                                                                       1:54PM       2:04PM
Pla-123    Physical NOSHO MOBU Boots                              No

Pla-124    Physical Tuffy Youth Boots                             No   10/25/2021   10/25/2021
                                                                       1:54PM       1:57PM

Pla-125    Physical Rocky Boots                                   No

Pla-126    Picture NOSHU MOBU Boots                               No

Pla-127    Picture Dryshod MOBU Hangtag                           No

Pla-128    Picture Donohue iPhone Photo                           No

Pla-129    Picture Defendants Camo Images                         No

Pla-130    Picture NOSHU MOBU Boot                                No   10/25/2021   10/25/2021
                                                                       1:54PM       1:57PM
Pla-131    Photo of Dryshod Boot                                  No

Pla-132    Digital Dryshod Catalog                                NO

Pla-133    Picture Defendants Camo                                No

Pla-134    Physical Defendants Camo Bootie                        No   10/25/2021   10/25/2021
                                                                       1:54PM       1:57PM

Pla-135    Physical Defendants Camo Fabric                        No

Pla-136    Physical Defendants Camo Fabnc                         No

Pla-137    Physical Defendants Camo Fabric                        No   10/25/2021   10/25/2021
                                                                       2:01 PM      2:04 PM

Pla-138    2017 Profit and Loss Statement                         No

Pla-139    2018 Profit and Loss Statement                         No

Pla-140    2019 Profit and Loss Statement                         No

Pla-141    2019 Balance Sheet                                     No

Pla-142    Defendants Sales by Customer                           No

Pla-143    Chart of Defendants Total Orders                       No   10/26/2021   10/26/2021
                                                                       11:00AM      2:51PM
Pla- 144   Robert Alexander Damages Schedules                     No

Pla-145    Rule 1006 Summary of Haas Royalties                    No

Pla-146    Lifestyle Items Under Break Up Mark                    No
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           I          S                                                I        I    I       I



Pla-147    Break Up Ad                                            No   10/25/2021   10/25/2021
                                                                       9:54AM       9:54AM
Pla-148    New Break Up Ad                                        No

Pla-149    New Break Up Ad                                        No

Pla-150    Break Up Ad                                            No   10/25/2021   10/25/2021
                                                                       9:54AM       9:54AM
PIa-151    Mossy Oak Brand Book                                   No

Pla-152    Introducing New Break Up CD Booklet                    No

Pla-153    Break Up Country Launch Kit                            No

Pla-154    2014 Mossy Oak Advertisement                           No

PIa-155    2015 Mossy Oak Advertisement                           No

Pla-156    2019 Mossy Oak Brand Book                              No

Pla-157    2019 Mossy Oak Advertisement                           No   10/27/2021   10/27/2021
                                                                       9:53AM       9:53AM
Pla-158    Break Up Infinity Advertisement                        No   10/25/2021   10/25/2021
                                                                       9:54AM       9:54AM
PIa-159    Break Up Infinity Advertisement                        No   10/25/2021   10/25/2021
                                                                       11:37AM      11:38AM
Pla- 160   Mossy Oak Zipper Pull Size Stickers                    No

Pla-161    2004 Gear Guide                                        No

Pla-162    2002 Catalog                                           No

PIa-163    Break Up Advertisement                                 No

Pla-164    New Break Up Spots Advertisement                       No   10/25/2021   10/25/2021
                                                                       11:49AM      11:49AM
PIa-165    New Break Up Tailgate Advertisement                    No

Pla-166    New Break Up Trade Advertisement                       No   10/25/2021   10/25/2021
                                                                       11.49 AM     11:51AM
Pla-167    Break Up Corner Office Advertisement                   No

Pla-168    1996 Catalog                                           No

Pla-169    2002 Fall Retail Catalog                               No

Pla-170    License Academy 2018 A                                 No

Pla-171    License Academy 2018                                   No

Pla-172    License Academy 2018 A Rev                             No

Pla- 173   License Academy 2007                                   No   10/27/2021   10/27/2021
                                                                       8:58AM       8:58AM
Pla-174    License Baffin Limited 2018                            No

PIa-175    License Baffin Limited 2018 A                          No

Pla-176    Ucense CO Lynch 2010 Addend                            No   10/27/2021   10/27/2021
                                                                       8:58AM       8:58AM
Pla-177    License CO Lynch 2010 Addend                           No   10/27/2021   10/27/2021
                                                                       8:58AM       8:58AM
Pla-178    License CO Lynch 2008 Addend                           No   10/27/2021   10/27/2021
                                                                       859AM        8:59AM
Pla-179    License CO Lynch 2008 Addend                           No   10/27/2021   10/27/2021
                                                                       8:59AM       8:59AM
Pla- 180   Ucense CO Lynch 2008 Renewal                           No   10/27/2021   10/27/2021
                                                                       8:59AM       8:59AM
Pla-181    License CO Lynch 2008 Renewal                          No   10/27/2021   10/27/2021
                                                                       8:59AM       8:59AM




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           I         S                                                 I         I   I        I



Pla-182    License Co Lynch 2002                                  No   10/27/2021    10/27/2021
                                                                       8:59AM        8:59AM
Pla-183    License Co Lynch 2004                                  No   10/27/2021    10/27/2021
                                                                       9:00AM        9:00AM
PIa-184    License CO Lynch 2004                                  No   10/27/2021    10/27/2021
                                                                       9:00AM        9:00AM
Pla-185    License CO Lynch 2006                                  No   10/27/2021    10/27/2021
                                                                       9:00AM        9:00AM
Pta- 186   License Co Lynch 2006 Addendum                         No   10/27/2021
                                                                       9:02 AM
PIa-187    License Cabelas 2008                                   No   10/27/2021    10/27/2021
                                                                       9:00AM        9:00AM
Pla-188    License Cabelas 2008 A                                 No   10/27/2021    10/27/2021
                                                                       901AM         9:01AM
Pla-189    License Cabelas 2007                                   No   10/27/2021    10/27/2021
                                                                       9:01AM        9:01AM
Pla-190    License Cabelas 2007 A                                 No   10/27/2021    10/27/2021
                                                                       9:01AM        9:01AM
Pla-191    License Cabelas 2005                                   No   10/27/2021    10/27/2021
                                                                       9:02AM        9:02AM
Pla-192    License Columbia 2010                                  No   10/27/2021    10/27/2021
                                                                       9:02 AM       9:02 AM
Pla-193    License Columbia 2010 A                                No   10/27/2021    10/27/2021
                                                                       9:02AM        9:02AM
Pla-194    Ucense Columbia 2011 A                                 No   10/27/2021    10/27/2021
                                                                       9:03AM        9:03AM
PIa-195    License Columbia 2012                                  No   10/27/2021    10/27/2021
                                                                       9:03AM        9:03AM
Pla-196    License Columbia 2012 A                                No   10/27/2021    10/27/2021
                                                                       9:03AM        9:03AM
Pla-197    License Columbia 2011                                  No   10/27/2021    10/27/2021
                                                                       9:03AM        9:03AM
Pla-198    License Columbia 2011 A                                No   10/27/2021    10/27/2021
                                                                       9 03 AM       9:03 AM
Pla-199    License Columbia 2011 A                                No   10/27/2021    10/27/2021
                                                                       9:03AM        9:03AM
Pla-200    License Columbia 2013                                  No   10/27/2021    10/27/2021
                                                                       904AM         9:04AM
Pla-201    License Columbia 2013 A                                No   10/27/2021    10/27/2021
                                                                       9:04AM        9:04AM
Pla-202    License Columbia 2014                                  No   10/27/2021    10/27/2021
                                                                       9:04AM        9:04AM
PIa-203    License Columbia 2014 A                                No   10/27/2021    10/27/2021
                                                                       9:04AM        9:04AM
Pla-204    Ucense Columbia 2016                                   No   10/27/2021    10/27/2021
                                                                       9:04AM        9:04AM
Pla-205    License Columbia 2016 A                                No   10/27/2021    10/27/2021
                                                                       9:05AM        9:05AM
Pla-206    License Columbia 2017 A                                No   10/27/2021    10/27/2021
                                                                       9:05AM        9:05AM
Pla-207    License Gerifoot 2010                                  No

Pta-208    License Genfoot 2010 A                                 No

Pla-209    License Genfoot 2007                                   No   10/27/2021    10/27/2021
                                                                       9:05AM        9:05AM



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          I         S                                                 I        I   'I       S


Pla-210   License Genfoots 2007 A                                No   10/27/2021   10/27/2021
                                                                      9.05AM       9:05AM
Pla-211   License Hevea 2017                                     No

Pla-212   License Hevea 2017 A                                   No

PIa-213   License Honeywell 2015 A                               No   10/27/2021   10/27/2021
                                                                      9:05AM       9:05AM
Pla-214   License Honeywell 2015                                 No   10/27/2021   10/27/2021
                                                                      9:06AM       9:06AM
Pla-215   License Honeywell 2017                                 No

Pla-216   License Honeywell 2017 A                               No   10/27/2021   10/27/2021
                                                                      9:53AM       9:53AM
Pla-217   License Norcross 2011 A                                No   10/27/2021   10/27/2021
                                                                      9:06AM       9:06AM
Pla-218   License Norcross 2009                                  No   10/27/2021   10/27/2021
                                                                      9:07AM       9:07AM
Pla-219   License Norcross 2010                                  No   10/27/2021   10/27/2021
                                                                      9:07AM       9:07AM
Pla-220   License Norcross 2010 A                                No   10/27/2021   10/27/2021
                                                                      9:07AM       9:07AM
Pla-221   License Norcross 2012 A                                No   10/27/2021   10/27/2021
                                                                      9:07AM       9:07AM
Pla-222   License Norcross 2007                                  No   10/27/2021   10/27/2021
                                                                      9:07AM       9:07AM
Pla-223   License Norcross 2011                                  No   10/27/2021   10/27/2021
                                                                      9:07AM       9:07AM
Pla-224   License Norcross 2007 Addend                           No   10/27/2021   10/27/2021
                                                                      9:07 AM      9:07 AM
Pla-225   License Hunter Trading 2011 A                          No

Pla-226   License Hunter Trading 2011                            No

Pla-227   License LaCrosse 2013                                  No

Pla-228   License LaCrosse 2014                                  No

PIa-229   License LaCrosse 2014 A                                No

Pla-230   License LaCrosse 2007                                  No

Pla-231   License LaCrosse 2009                                  No

Pla-232   License LaCrosse 2009 A                                No

Pla-233   License LaCrosse 2010 A                                No

Pla-234   License LaCrosse 2011 A                                No

Pla-235   License LaCrosse 2010                                  No

Pla-236   License LaCrosse 2013 A                                No

Pla-237   License LaCrosse 2015                                  No

Pla-238   License LaCrosse 2015 A                                No

Pla-239   License LaCrosse 2004                                  No   10/27/2021   10/27/2021
                                                                      9:07AM       9:07AM
Pla-240   License LaCrosse 2012                                  No

Pla-241   License LaCrosse 2012 A                                No

Pla-242   License LaCrosse 2013                                  No

Pla-243   License LaCrosse 2013 A                                No

Pla-244   License MF Western 2005                                No   10/27/2021   10/27/2021
                                                                      9:07 AM      9:07 AM
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          S         I                                                  S         S   'S       S



Pla-245   License MF Western 2016 A                              No   10/27/2021     10/27/2021
                                                                      9:08AM         9:08AM
Pla-246   License MF Western 2018 A                              No   10/27/2021     10/27/2021
                                                                      9:08AM         9:08AM
Pla-247   License Mad Bomber 2016 A                              No

Pla-248   License Mad Bomber 2016                                No

PIa-249   License Perfect Storm 2014                             No   10/27/2021     10/27/2021
                                                                      9:08AM         9:08AM
Pla-250   License Perfect Storm 2014 A                           No   10/27/202 1    10/27/2021
                                                                      9:08AM         9:08AM
Pla-251   License Perfect Storm 2016 A                           No   10/27/2021     10/27/2021
                                                                      9:08AM         9:08AM
PIa-252   License Perfect Storm 2018                             No   10/27/2021     10/27/2021
                                                                      9:08AM         9:08AM
Pla-253   License Perfect Storm 2018 A                           No   10/27/2021     10/27/2021
                                                                      9:08AM         9:08AM
PIa-254   License Radians 2010                                   No   10/27/2021     10/27/2021
                                                                      909   AM       9:09 AM
Pla-255   License Radians 2010 A                                 No   10/27/2021     10/27/2021
                                                                      9:09AM         9:09AM
Pla-256   License Radians 2011                                   No   10/27/202 1    10/27/2021
                                                                      9:09AM         9:09AM
PIa-257   License Radians 2011 A                                 No   10/27/2021     10/27/2021
                                                                      9:09AM         9:09AM
PIa-258   License Radians 2012                                   No   10/27/2021     10/27/2021
                                                                      9:09AM         9:09AM
Pla-259   License Radians 2012 A                                 No   10/27/2021     10/27/2021
                                                                      9:09AM         9:09AM
Pla-260   License Radians 2014                                   No   10/27/2021     10/27/2021
                                                                      909AM          9:09AM
Pla-261   License Radians 2014 A                                 No   10/27/2021     10/27/2021
                                                                      9:09AM         9:09AM
PIa-262   License Radians 2016 A                                 No   10/27/2021     10/27/2021
                                                                      9:09AM         9:09AM
Pla-263   License Red Wing 2011                                  No

Pla-264   License Red Wing 2011 A                                No

PIa-265   License Red Wing 2009                                  No   10/27/2021     10/27/2021
                                                                      9:09AM         9:09AM
Pla-266   License Red WIng 2010                                  No   10/27/2021     10/27/2021
                                                                      9:09AM         9:09AM
Pla-267   License Red Wing 2010 A                                No   10/27/2021     10/27/2021
                                                                      9:09AM         9:09AM
PIa-268   License Red Wing 2013                                  No   10/27/2021     10/27/2021
                                                                      9:09AM         9:09AM
Pla-269   License Red Wing 2013 A                                No   10/27/2021     10/27/2021
                                                                      9:09AM         9:09AM
Pla27O    License Red Wing 2012                                  No

PIa-271   License Red Wing 2012 A                                No

Pla-272   License Red Wing 2017                                  No

Pla-273   License Red Wing 2017 A                                No   10/27/2021     10/27/2021
                                                                      9:53AM         9:53AM
Pla-274   License Rocky Brands 2011                              No   10/27/2021     10/27/2021
                                                                      9'1OAM         9.1OAM



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PIa-275    License Rocky Brands 2015                              No   10/27/2021   10/27/2021
                                                                       9:10AM       9:10AM
Pla-276    License Rocky Brands 2015 A                            No   10/27/2021   10/27/2021
                                                                       9:10AM       9:10AM
PIa-277    License Rocky Brands 2011 A                            No   10/27/2021   10/27/2021
                                                                       9:10AM       9:10AM
Pla-278    License Rocky Brands 2009                              No   10/27/2021   10/27/2021
                                                                       9:10AM       9:10AM
PIa-279    License Rocky Brands 2009 A                            No   10/27/2021
                                                                       9:11 AM

PIa-280    License Rocky Brands 2005                              No

Pla-281    License Rocky Brands 2017 A                            No

Pla-282    License Pro Line 2010                                  No   10/27/2021   10/27/2021
                                                                       9:08AM       9:08AM
Pla-283    License Pro Line 2010 A                                No   10/27/2021   10/27/2021
                                                                       9:08AM       9:08AM
Pla-284    License Pro Line 2012                                  No   10/27/2021   10/27/2021
                                                                       908AM        9:08AM
Pla-285    License Pro Line 2012 A                                No   10/27/2021   10/27/2021
                                                                       9:08AM       9:08AM
Pla-286    License Pro Line 2013                                  No   10/27/2021   10/27/2021
                                                                       9:08AM       9:08AM
PIa-287    License Pro Line 2013 A                                No   10/27/2021   10/27/2021
                                                                       9:08AM       9:08AM
PIa-288    License Pro Line 2016                                  No   10/27/2021   10/27/2021
                                                                       9:08AM       9:08AM
PIa-289    License Pro Line 2016 A                                No   10/27/2021   10/27/2021
                                                                       9:08AM       9:08AM
Pla-290    License Pro Line 2007                                  No   10/27/2021   10/27/2021
                                                                       9:08AM       9:08AM
PIa-291    License Pro Line 2005                                  No   10/27/2021   10/27/2021
                                                                       9:09AM       9:09AM
Pla-292    License Rudis Holdings 2018 A                          No

PIa-293    License Rudis Holdings 2018                            No

Pla-294    License Shoe FeIlas 2018                               No

Pla-295    License Shoe Fellas 2018 A                             No

Pla-296    License Skechers 2013                                  No   10/27/2021   10/27/2021
                                                                       9:10AM       9:10AM
Pla-297    License Skechers 2013 A                                No   10/27/2021   10/27/2021
                                                                       9:11AM       9:11AM
Pla-298    License Skechers 2013 A 2                              No   10/27/2021   10/27/2021
                                                                       9:11AM       9:11AM
Pla-299    License Skechers 2016 A                                No   10/27/2021   10/27/2021
                                                                       9:11AM       9:11AM
Pla-300    License Skechers 2017 A                                No   10/27/2021   10/27/2021
                                                                       9:11AM       9:11AM
Pla-301    License Skechers 2018 A                                No   10/27/2021   10/27/2021
                                                                       9:11AM       9:11AM
Pla-302    License Skechers 2016                                  No   10/27/2021   10/27/2021
                                                                       9:11AM       9:11AM
Pla-303    License Skechers 2017                                  No   10/27/2021   10/27/2021
                                                                       9:11AM       9:11AM
Pla3Q4     License Sportsmans 2012

Pla-305    License Sportsman 2012 A

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           I          I                                                 I        I    I       I



PIa-306   License Sportsman 2014                                  No

Pla-307   License Sportsman 2014 A                                No

PIa-308   License Sportsman 2017 A                                No

PIa-309   License Sportsman 2018                                  No

Pla-310   License Sportsman 2018 A                                No

Pla-311   License Sportsman 2016                                  No

PIa-312   License Gator Gear 2014                                 No

Pla-313   License Sportsman 2016 A                                No

Pla-314   License Tatra Safety 2015                               No   10/27/202 1   10/27/2021
                                                                       9:11AM        9:11AM
Pla-315   License Tatra Safety 2013                               No   10/27/2021    10/27/2021
                                                                       9:11AM        9:11AM
Pia-316   License Tatra Safety 2013 A                             No   10/27/2021    10/27/2021
                                                                       9:11AM        9:11AM
Pla-317    License Triple T 2013                                  No   10/27/2021    10/27/2021
                                                                       9:12AM        9:12AM
PIa-318   License Tnple T 2013 A                                  No   10/27/2021    10/27/2021
                                                                       9:12AM        9:12AM
Pla-319   License WelIco 2010 A                                   No   10/27/2021    10/27/2021
                                                                       9:12AM        9:12AM
Pla32O    License WeIlco 2010                                     No   10/27/2021    10/27/2021
                                                                       9:12AM        9:12AM
PIa-321   License The Combs 2011                                  No   10/27/2021    10/27/2021
                                                                       9:12AM        9:12AM
Pla-322   License The Combs 2011 A                                No   10/27/2021    10/27/2021
                                                                       9:12AM        9:12AM
PIa-323   License The Combs 2010                                  No   10/27/2021    10/27/2021
                                                                       9:12AM        9:12AM
Pla-324   License The Combs 2010 A                                No   10/27/2021    10/27/2021
                                                                       912AM         9:12AM
Pla-325   License The Combs 2006                                  No   10/27/2021    10/27/2021
                                                                       9:12AM        9:12AM
Pla-326   License The Combs 2007                                  No   10/27/2021    10/27/2021
                                                                       912AM         9:12AM
Pla-327   License The Combs 2008                                  No   10/27/2021    10/27/2021
                                                                       9:12AM        9:12AM
Pla-328   License The Combs 2008 A                                No   10/27/2021    10/27/2021
                                                                       9:12AM        9:12AM
PIa-329   License Weyco Group 2014                                No   10/27/2021    10/27/2021
                                                                       9:13AM        9:13AM
Pla-330   License Weyco Group 2014 A                              No   10/27/2021    10/27/2021
                                                                       9:13AM        9:13AM
PIa-331   License Weyco Group 2016                                No

Pla-332   License Weyco Group 2018 A 2                            No

Pla-333   License Weyco Group 2012                                No   10/27/2021    10/27/2021
                                                                       9:13AM        9:13AM
Pla-334   License Weyco Group 2012 A                              No   10/27/2021    10/27/2021
                                                                       9:13AM        9:13AM
PIa-335   License Weyco Group 2013                                No   10/27/2021    10/27/2021
                                                                       9:13AM        9:13AM
Pla-336   License Weyco Group 2013 A                              No   10/27/2021    10/27/2021
                                                                       9:13AM        9:13AM



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 Pla-337   License Weyco Group 2014                                No   10/27/2021    10/27/2021
                                                                        9:13AM        9:13AM
 PIa-338   License Weyco Group 2014 2                              No   10/27/2021    10/27/2021
                                                                        9:13AM        9:13AM
 PIa-339   License Weyco Group 2014 A                              No   10/27/2021    10/27/2021
                                                                        9:13AM        9:13AM
Pla-340    License Weyco Group 2014 A 2                            No   10/27/2021    10/27/2021
                                                                        9:13AM        9:13AM
 PIa-341   License Weyco Group 2016 A                              No

 Pla-342   License Weyco Group 2017 A                              No

 Pla-343   License Worldwide Distribs 2016                         No

 Pla-344   License Worldwide Distribs 2018 A                       No

 Pla-345    1   Jan 2008 MOBU Usage Example                        No   10/25/2021    10/25/2021
                                                                        10:20AM       10:20AM
 Pla-346   2 Jan 2008 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                        10:20AM       10:20AM
 PIa-347   2 Jan 2008 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                        10:20AM       10:20AM
 PIa-348   3 Jan 2008 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                        9:55AM        9:55AM
 Pla-349    10 Jan 2008 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                        10:20AM       10:20AM
 Pla-350    16 Jan 2008 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                        10:20AM       10:20AM
 PIa-351    16 Jan 2008 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                        9:58AM        9:58AM
 Pla-352   21 Jan 2008 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                        10:20 AM      10:20 AM
 PIa-353   21 Jan 2008 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                        10:20 AM      10:20 AM
 Pla-354   21 Jan 2008 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                        10:20 AM      10:20 AM
 PIa-355   22 Jan 2008 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                        10:20 AM      10:20 AM
 Pla-356   23 Jan 2008 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                        10:20AM       10:20AM
 PIa-357   23 Jan 2008 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                        10:20AM       10:20AM
 Pla-358   23 Jan 2008 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                        10:20AM       10:20AM
 Pla-359   6 Feb 2008 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                        10:01 AM      10:01 AM
 Pla-360   6 Feb 2008 MOBU Usage Example                           No   3.0/25/2021   10/25/2021
                                                                        10:21AM       10:21AM
 Pla-361   6 Feb 2008 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                        10:21AM       10:21AM
 Pla-362   6 Feb 2008 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                        10:21 AM      10:21 AM
 Pla-363   6 Feb 2008 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                        10:21 AM      10:21 AM
 Pla-364   6 Feb 2008 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                        10:2 1 AM     10:2 1 AM
 Pla-365    7 Feb 2008 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                        10:21 AM      10:21 AM




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          I                                                            I         I    I      I



Pla-366   7 Feb 2008 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       10:21AM       10:21AM
Pla-367   8 Feb 2008 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       10:21 AM      10:21 AM

Pla-368   8 Feb 2008 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       10:21AM       10:21AM
Pla-369   8 Feb 2008 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       10:21 AM      10:21 AM

P!a-370   11 Feb 2008 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:21 AM      10:21 AM
Pla-371   22 Feb 2008 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:21 AM      10:21 AM

Pla-372   25 Feb 2008 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:21AM       10:21AM
Pla-373   29 Feb 2008 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:21 AM      10:21 AM

Pla-374   29 Feb 2008 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       1021AM        10:21AM
Pla-375   3 Mar 2008 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       10:21 AM      10:21 AM
Pla-376   3 Mar 2008 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       10:08AM       10:08AM
Pla-377   4 Mar 2008 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       10:21 AM      10:21 AM

Pla-378   5 Mar 2008 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       10:21 AM      10:21 AM
Pla-379   6 Mar 2008 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       10:21 AM      10:21 AM
Pla-380   7 Mar 2008 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       10:21AM       10:21AM
Pla-381   7 Mar 2008 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       10:21 AM      10:21 AM

Pla-382   8 Mar 2008 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       10:22 AM      10:22 AM
Pla-383    11 Mar 2008 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:22AM       10:22AM
Pla-384    11 Mar 2008 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:22 AM      10:22 AM
Pla-385    17 Mar 2008 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:22AM       10:22AM
Pla-386    18 Mar 2008 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:22AM       10:22AM
Pla-387    18 Mar 2008 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:22AM       10:22AM
Pla-388    19 Mar 2008 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       1022AM        10:22AM
Pla-389    19 Mar 2008 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:22AM       10:22AM
Pla-390    19 Mar 2008 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:22AM       10:22AM
Pla-391    19 Mar 2008 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:22AM       10:22AM
Pla-392    19 Mar 2008 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:22 AM      10:22 AM
Pla-393    20 Mar 2008 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:22AM       10:22AM

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          I                                                            I        I



Pla-394   22 Mar 2008 MOBU Usage Example                         No    10/25/2021   10/25/202 1
                                                                       10:22 AM     10:22 AM
PIa-395   25 Mar 2008 MOBU Usage Example                          No   10/25/2021   10/2 5/20 2 1
                                                                       10:22 AM     10:22 AM
Pla-396   31 Mar 2008 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       10:22 AM     10:22 AM
Pla-397   1   Apr 2008 MOBU Usage Example                         No   10/25/2021   10/25/2021
                                                                       10:22 AM     10:22 AM

Pla-398   3 Apr 2908 MOBU Usage Example                           No   10/25/2021   10/25/2021
                                                                       10:22 AM     10:22 AM
Pla-399   4 Apr 2008 MOBU Usage Example                           No   10/25/2021   10/25/2021
                                                                       10:22 AM     10:22 AM
Pla-400   14 Apr 2008 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       10:01 AM     10:01 AM
PIa-401   15 Apr 2008 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       10:22 AM     10:22 AM
Pla-402   24 Apr 2008 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       10:22 AM     10:22 AM
Pla-403   29 Apr 2008 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       10:02 AM     10:23 AM
Pta-404   29 Apr 2008 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       10:23 AM     10:23 AM
PIa-405   29 Apr 2008 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       10:23 AM     10:23 AM
Pla-406   30 Apr 2008 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       10:23 AM     10:23 AM
Pla-407   2 May 2008 MOBU Usage Example                           No   10/25/2021   10/25/2021
                                                                       10:23 AM     10:23 AM
Pla-408   5 May 2008 MOBU Usage Example                           No   10/25/2021   10125/202 1
                                                                       10:23 AM     10:23 AM
Pla-409   6 May 2008 MOBU Usage Example                           No   10/25/2021   10/25/2021
                                                                       10:23 AM     10:23 AM

Pla-410   8 May 2008 MOBU Usage Example                           No   10/25/2021   10/25/2021
                                                                       10:23 AM     10:23 AM
Pla-411   9 May 2008 MOBU Usage Example                           No   10/25/2021   10/25/2021
                                                                       10:23 AM     10:23 AM

Pla-412   9 May 2008 MOBU Usage Example                           No   10/25/2021   10/25/2021
                                                                       10:23 AM     10:23 AM
Pla-413   9 May 2008 MOBU Usage Example                           No   10/25/2021   10/25/2021
                                                                       10:23 AM     10:23 AM
Pla-414   13 May 2008 MOBU Usage Example                          No   10/25/2021   10/25/202 1
                                                                       10:23 AM     10:23 AM
PIa-415    14 May 2008 MOBU Usage Example                         No   10/25/2021   10/25/2021
                                                                       10:23 AM     10:23 AM
Pla-416    14 May 2008 MOBU Usage Example                         No   10/25/2021   10/25/2021
                                                                       10:23 AM     10:23 AM
Pla-417    14 May 2008 MOBU Usage Example                         No   10/25/2021   10/25/2021
                                                                       10:23 AM     10:23 AM
Pla-418    14 May 2008 MOBU Usage Example                         No   10/25/2021   10/25/202 1
                                                                       10:23 AM     10:23 AM
Pla-419    15 May 2008 MOBU Usage Example                         No   10/25/2021   10/25/2021
                                                                       10:23 AM     10:23 AM

Pla-420   15 May 2008 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       10:23 AM     10:23 AM
Pla-421   25 May 2008 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       10:23 AM     10:23 AM

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Pla-422   29 May 2008 MOBU Usage Example                         No    10/25/2021   10/25/2021
                                                                       10:23AM      1023AM
PIa-423   11 Jun 2008 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       10:23AM      10:23AM

Pla-424   11 Jun 2008 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       10:23 AM     10:23 AM

Pla-425   16 Jun 2008 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       10:23AM      10:23AM
Pla-426   23 Jul 2008 MOBU Usage Example                         No    10/25/2021   10/25/2021
                                                                       10:23AM      10:23AM
PIa-427   23 Jul 2008 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       10:23AM      10:23AM
Pla-428   1   Aug 2008 MOBU Usage Example                         No   10/25/2021   10/25/2021
                                                                       10:12AM      10:12AM
Pla-429   6 Aug 2008 MOBU Usage Example                           No   10/25/2021   10/25/2021
                                                                       10:24AM      10:24AM
Pla-430   7 Aug 2008 MOBU Usage Example                           No   10/25/2021   10/25/2021
                                                                       10:03AM      10:03AM
PIa-431   13 Aug 2008 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       10:24AM      10:24AM
Pta-432   19 Aug 2008 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       10:24AM      10:24AM
Pla-433   22 Aug 2008 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       10:24AM      10:24AM
Pla-434   26 Aug 2008 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       10:24 AM     10:24 AM

Pla-435   10 Sep 2008 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       10:24AM      10:24AM
Pla-436   10 Sep 2008 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       10:30AM      10:30AM
Pla-437    10 Sep 2008 MOBU Usage Example                         No   10/25/2021   10/25/2021
                                                                       10:30AM      10:30AM
Pla-438    15 Sep 2008 MOBU Usage Example                         No   10/25/2021   10/25/2021
                                                                       10:30AM      10:30AM
Pla-439    16 Sep 2008 MOBU Usage Example                         No   10/25/2021   10/25/2021
                                                                       10:30AM      10:30AM
Pla-440   16 Sep 2008 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       10:30AM      10:30AM
PIa-441   31 Oct 2008 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       10:30AM      10:30AM
Pla-442    12 Nov 2008 MOBU Usage Example                         No   10/25/2021   10/25/2021
                                                                       10:30 AM     10:30 AM
Pla-443    12 Nov 2008 MOBU Usage Example                         No   10/25/2021   10/25/2021
                                                                       10:30AM      10:30AM
Pla-444   2 Dec 2008 MOBIl Usage Example                          No   10/25/2021   10/25/2021
                                                                       1030AM       10:30AM
Pla-445    11 Dec 2008 MOBIl Usage Example                        No   10/25/2021   10/25/2021
                                                                       10:30AM      10:30AM

Pla-446    19 Jan 2009 MOBU Usage Example                         No   10/25/2021   10/25/2021
                                                                       10:30AM      10:30AM
PIa-447    20 Jan 2009 MOBU Usage Example                         No   10/25/2021   10/25/2021
                                                                       10:30AM      10:30AM
Pla-448    26 Jan 2009 MOBU Usage Example                         No   10/25/2021   10/25/2021
                                                                       10:30AM      10:30AM
Pla-449    27 Jan 2009 MOBU Usage Example                         No   10/25/2021   10/25/2021
                                                                       10:30AM      10:30AM

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                                                                                 I   I        I



Pla-450   28 Jan 2009 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:30 AM      10:30 AM

Pla-451   2 Feb 2009 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       10:30AM       10:30AM
Pla-452   4 Feb 2009 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       10:30 AM      10.30 AM
PIa-453   4 Feb 2009 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       10:30AM       10:30AM
Pla-454   4 Feb 2009 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       1030AM        10:30AM
Pla-455   5 Feb   2009 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:30AM       10:30AM
Pla-456   6 Feb 2009 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       10:30AM       10:30AM
Pla-457   25 Feb 2009 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:31 AM      10:31 AM

Pla-458   25 Feb 2009 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:31AM       10:31AM
Pla-459   2 Mar 2009 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       10:31 AM      10:31 AM

Pla-460   5 Mar 2009 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       10:31AM       10:31AM
Pla-461   9 Mar 2009 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       10:31 AM      10:31 AM

Pla-462    10 Mar 2009 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:31AM       10:31AM
Pla-463    12 Mar 2009 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:31AM       10:31AM
Pla-464    16 Mar 2009 MOBU Usage Example                         No   10/25/202 1   10/25/202 1
                                                                       10:31 AM      10:31 AM

Pla-465    16 Mar 2009 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:31 AM      10:31 AM

Pta-466   24 Mar 2009 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:31AM       10:31AM
Pla-467    2 Apr 2009 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:31 AM      10:31 AM

Pla-468    3   Apr 2009 MOBU Usage Example                        No   10/25/2021    10/25/2021
                                                                       10:31AM       10:31AM
Pla-469    6 Apr 2009 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:31 AM      10:31 AM

Pla-470    7   Apr 2009 MOBU Usage Example                        No   10/25/202 1   10/25/2021
                                                                       10:31 AM      10:31 AM

Pla-471    22 Apr 2009 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:11 AM      10:11 AM

Pla-472    6 May 2009 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:31 AM      10:31 AM

Pla-473    7 May 2009 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:13AM       10:16AM
Pla-474    13 May 2009 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:31AM       10:31AM
Pla-475    13 May 2009 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:31 AM      10:31 AM

Pla-476    20 May 2009 MOBU Usage Example                         No   10/25/202 1   10/25/2021
                                                                       10:05 AM      10:05 AM

Pla-477    1   Jun 2009 MOBU Usage Example                        No   10/25/2021    10/25/2021
                                                                       10:31 AM      10:31 AM



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Pla-478   1    3un 2009 MOBU Usage Example                        No   10/25/2021   10/25/2021
                                                                       10:32AM      10:32AM
Pla-479   1    Jun 2009 MOBU Usage Example                        No   10/25/2021   10/25/2021
                                                                       10:32AM      10:32AM
Pla-480   3 Jun 2009 MOBU Usage Example                           No   10/25/2021   10/25/2021
                                                                       10:32 AM     10:32 AM
Pla-481   3 Jun 2009 MOBU Usage Example                           No   10/25/2021   10/25/2021
                                                                       10:32AM      10:32AM
Pla-482   4 Jun 2009 MOBIl Usage Example                          No   10/25/2021   10/25/2021
                                                                       10:32AM      10:32AM
Pla-483   8 Jun 2009 MOBU Usage Example                           No   10/25/2021   10/25/2021
                                                                       10:32AM      10:32AM
Pla-484   11 Jun 2009 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       10:32 AM     10:32 AM

Pla-485   14 Aug 2009 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       10:32AM      10:32AM
Pla-486   3 Sep 2009 MOBIl Usage Example                          No   10/25/2021   10/25/2021
                                                                       10:32 AM     10:32 AM

Pla-487   24 Sep 2009 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       10:32AM      10:32AM
Pta-488   24 Sep 2009 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       10:32AM      10:32AM
Pla-489   24 Sep 2009 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       10:32AM      10:32AM
Pla-490   30 Sep 2009 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       10:32 AM     10:32 AM

Pla-491    1   Oct 2009 MOBU Usage Example                        No   10/25/2021   10/25/2021
                                                                       10:32AM      10:32AM
Pla-492   22 Oct 2009 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       10:32AM      10:32AM
Pla-493   26 Oct 2009 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       10:32AM      10:32AM
Pla-494   27 Oct 2009 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       10:32AM      10:32AM
Pla-495    2 Nov   2009 MOBU Usage Example                        No   10/25/2021   10/25/2021
                                                                       10:32AM      10:32AM
Pla-496   9 Nov 2009 MOBU Usage Example                           No   10/25/2021   10/25/2021
                                                                       10:32AM      10:32AM
Pla-497   9 Nov 2009 MOBU Usage Example                           No   10/25/2021   10/25/2021
                                                                       10:32AM      10:32AM
Pla-498   9 Nov 2009 MOBU Usage Example                           No   10/25/2021   10/25/2021
                                                                       10:32AM      10:32AM
Pla-499    12 Nov 2009 MOBU Usage Example                         No   10/25/2021   10/25/2021
                                                                       10:33AM      10:33AM
Pta-500    24 Nov 2009 MOBU Usage Example                         No   10/25/2021   10/25/2021
                                                                       10:33 AM     10:33 AM
Pla-501    18 Dec 2009 MOBU Usage Example                         No   10/25/2021   10/25/2021
                                                                       10:33AM      10:33AM
Pla-502    18 Dec 2009 MOBU Usage Example                         No   10/25/2021   10/25/2021
                                                                       10:33AM      10:33AM
Pla-503    21 Dec 2009 MOBU Usage Example                         No   10/25/2021   10/25/2021
                                                                       10:33AM      10:33AM
Pla-504    22 Dec 2009 MOBU Usage Example                         No   10/25/2021   10/25/2021
                                                                       10:33AM      10:33AM
Pla-505    27 Dec 2009 MOBU Usage Example                         No   10/25/2021   10/25/2021
                                                                       10:33AM      10:33AM

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                    I                                                            I    I      I



Pla-506   15 Jan 2010 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:33AM       10.33 AM
Pla-507   18 Jan 2010 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:33AM       10:33AM
Pla-508   28 Jan 2010 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:33 AM      10:33 AM
Pla-509   8 Feb 2010 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       10:09AM       10:09AM
Pla-510   9 Feb 2010 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       10.33AM       10:33AM
PIa-511   26 Feb 2010 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:33AM       10:33AM
Pla-512   26 Feb 2010 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:33AM       10:33AM
Pla-513   26 Feb 2010 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:33AM       10:33AM
Pla-514   26 Feb 2010 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:33 AM      10:33 AM
Pla-515   9 Mar 2010 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       10:33AM       10:33AM
Pla-516   9 Mar 2010 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       10:33 AM      10:33 AM
Pla-517   24 Mar 2010 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:33AM       10:33AM
Pla-518   29 Mar 2010 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:33AM       10:33AM
Pla-519   15 Apr 2010 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:33AM       10:33AM
Pla520    28 Apr 2010 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:33 AM      10:33 AM
Pla-521   14 May 2010 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:34AM       10:34AM
Pla-522   19 May 2010 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:34AM       10:34AM
Pla-523   19 May 2010 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:34AM       10:34AM
Pla-524   27 May 2010 MOBU Usage Example                          No   10/25/202 1   10/25/2021
                                                                       10:34AM       10:34AM
Pla-525   27 May 2010 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:34AM       10:34AM
Pla-526   27 May 2010 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:34AM       10:34AM
Pla-527   27 May 2010 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:34AM       10:34AM
Pla-528   27 May 2010 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:34AM       10:34AM
Pla-529   28 Jun 2010 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:34AM       10:34AM
Pla-530   9 Jul 2010 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       10:34AM       10:34AM
Pla-531   9 Jul 2010 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       10:34AM       10:34AM
Pla-532   9 Jul 2010 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       10:34AM       10:34AM
Pla-533   21 Jul 2010 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:34AM       10:34AM

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          I                                                            I         I    l      I



Pla-534   21 Jul 2010 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:34AM       10:34AM
Pla-535   16 Aug 2010 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:34AM       10:34AM
Pla-536   23 Sep 2010 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:34AM       10:34AM
Pla-537   27 Sep 2010 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:34AM       10:34AM
Pla-538   10 Nov 2010 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:34AM       10:34AM
Pla-539   12 Nov 2010 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:34AM       10:34AM
Pla-540   7 Dec 2010 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       10:34AM       10:34AM
Pla-541   17 Dec 2010 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:34AM       10:34AM
Pla-542    17 Dec 2010 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:35 AM      10:35 AM

Pla-543   24 Jan 2011 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:35 AM      10:35 AM
Pla-544   31 Jan 2011 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:35 AM      10:35 AM
Pla-545   8 Feb 2011 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       10:35 AM      10:35 AM

Pla-546   8 Feb 2011 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       10:35AM       10:35AM
Pla-547   8 Feb 2011 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       10:35 AM      10:35 AM

Pla-548   17 Feb 2011 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:35AM       10:35AM
Pla-549    17 Feb 2011 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:35AM       10:35AM
Pla-550   23 Feb 2011 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:35 AM      10:35 AM

Pla-551    11 Mar 2011 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:25 AM      10:25 AM
Pla-552    16 Mar 2011 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:25 AM      10:25 AM
Pla-553    11 Apr 2011 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:25 AM      10:25 AM

Pla-554    13 May 2011 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:25 AM      10:25 AM
Pla-555    19 Jul 2011 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:26AM       10:26AM
Pla-556   20 Jul 2011 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:26AM       10:26AM
Pla-557    22 Jul 2011 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:35AM       10:35AM
Pla-558    25 Aug 2011 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:35 AM      10:35 AM
Pla-559    30 Aug 2011 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:35 AM      10:35 AM
Pla-560   30 Aug 2011 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:35AM       10:35AM
Pla-561    7 Sep 2011 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:35 AM      10:35 AM

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Pla-562   29 Sep 2011 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:35 AM      10:35 AM

Pla-563   30 Nov 2011 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:36AM       10:36AM
Pla-564   30 Nov 2011 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:36AM       1036AM
Pla-565   27 Dec 2011 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:36AM       10:36AM
Pla-566    17 Jan 2012 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:36AM       10:36AM
Pla-567    1   Feb 2012 MOBU Usage Example                        No   10/25/2021    10/25/2021
                                                                       10:36AM       10:36AM
Pla-568   1 Feb 2012 MOBU Usage Example                           No   10/25/2021    10/2512021
                                                                       10:36AM       10:36AM
Pla-569    1 Feb   2012 MOBU Usage Example                        No   10/25/2021    10/25/2021
                                                                       10:36AM       10:36AM
Pla-570   1 Feb 2012 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       10:36 AM      10:36 AM
Pla-571    5 Feb   2012 MOBU Usage Example                        No   10/25/2021    10/25/2021
                                                                       10:36AM       10:36AM
Pta-572    14 Feb 2012 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:36AM       10:36AM
PIa-573    28 Feb 2012 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:36AM       10:36AM
Pla-574   4 Apr 2012 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       10:36AM       10:36AM
PIa-575   4 Apr 2012 MOBU Usage Example                           No   10/25/2021    10/25/2021
                                                                       10:36AM       10:36AM
Pla-576   20 Apr 2012 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:36AM       10:36AM
PIa-577    21 May 2012 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:36AM       10:36AM

Pla-578    21 May 2012 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10.36 AM      10:36 AM
Pla-579    11 Jun 2012 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:36AM       10:36AM
Pla-580    27 Jun 2012 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:36 AM      10:36 AM
PIa-581    15 Aug 2012 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:36AM       10:36AM
Pla-582    28 Aug 2012 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:36AM       10:36AM
PIa-583    6 Sep 2012 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:36 AM      10:36 AM

Pla-584    13 Sep 2012 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:39AM       10:39AM
Pla-585    16 Oct 2012 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:39AM       10:39AM
Pla-586    6 Nov 2012 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:39AM       10:39AM
PIa-587    6 Nov.2012 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:39AM       10:39AM
Pla-588    27 Dec 2012 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                       10:39AM       10:39AM
Pla-589    9 Jan 2013 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                       10:39AM       10:39AM

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Pla-590       10 Jan 2013 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                           10:39 AM      10:39AM

Pla-591        10 Jan 2013 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                           11:01AM       11:01AM

Pla-592       23 Jan 2013 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                           11:01 AM      11:01 AM

Pla-593        24 Jan 2013 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                           11:01 AM      11:01 AM

Pla-594       31 Jan 2013 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                           11:01AM       11O1AM

PIa-595        5 Feb   2013 MOBU Usage Example                        No   10/25/2021    10/25/2021
                                                                           11:01 AM      11:01 AM

Pla596         8 Feb 2013 MOBU Usage Example                          No   10/25/2021    10/25/2021
                                                                           11:01 AM      1101   AM

Pla-597        12 Feb 2013 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                           11:01 AM      11:01 AM

Pla-598        21 Feb 2013 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                           11:01 AM      11:01 AM

Pla-599        21 Feb 2013 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                           11:01 AM      11:01 AM

Pla-600        21 Feb 2013 MOB!.) Usage Example                       No   10/25/2021    10/25/2021
                                                                           11:01 AM      11:01 AM

PIa-601        21 Feb 2013 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                           11:02AM       11:02AM

Pla-602        21 Feb 2013 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                           11:02AM       11:02AM

Pla-603        26 Feb 2013 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                           11:02AM       11:02AM

Pla-604        28 Feb 2013 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                           11:02AM       11:02AM

Pla-605        28 Feb 2013 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                           11:02AM       11:02AM

Pla-606        17 Mar 2013 MOB!) Usage Example                        No   10/25/2021    10/25/2021
                                                                           11.O2AM       11:02AM

Pla-607        10 Sep 2013 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                           11:02AM       11:02AM

Pla-608        11 Sep 2013 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                           11:02AM       11:02AM

Pla-609        22 Nov 2013 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                           11:02AM       11:02AM

Pla-610        26 Jan 2014 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                           11:02AM       11:02AM
Pla-611        27 Jan 2014 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                           11:02AM       11:02AM

Pla-612        12 Feb 2014 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                           11:02AM       11:02AM
Pla-613        13 Feb 2014 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                           11:03AM       11:03AM

Pla-614        18 Feb 2014 MOBIl Usage Example                        No   10/25/2021    10/25/2021
                                                                           11:03AM       11:03AM
Pla-615        19 Feb 2014 MOBU Usage Example                         No   10/25/2021    10/25/2021
                                                                           11:03AM       11:03AM

Pla-616        19 Feb 2014 MOBIl Usage Example                        No   10/25/2021    10/25/2021
                                                                           11:03AM       11:03AM

Pla-617
          /    19 Feb 2014 MOBU Usage Example                         No   10/25/2021
                                                                           11:03AM
                                                                                         10/25/2021
                                                                                         11:03AM

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Pla-618   19 Feb 2014 MOBU Usage Example                         No    10/25/2021   10/25/2021
                                                                       11:03AM      11:03AM
Pla-619   28 Feb 2014 MOBU Usage Example                         No    10/25/2021   10/25/2021
                                                                       11:03AM      11:03AM

Pla-620   26 Mar 2014 MOBU Usage Example                         No    10/25/2021   10/25/2021
                                                                       11:03AM      11:03AM
Pla-621   28 Mar 2014 MOBU Usage Example                         No    10/25/2021   10/25/2021
                                                                       11:03AM      11:03AM

Pla-622   16 Apr 2014 MOBU Usage Example                         No    10/25/2021   10/25/2021
                                                                       11:03AM      11:03AM
Pla-623   12 May 2014 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       11:03AM      11:03AM
Pla-624   13 May 2014 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       11:03AM      11:03AM

Pla-625   21 Jul 2014 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       11:03AM      11:03AM

Pla-626   25 Jul 2014 MOBU Usage Example                          NO   10/25/2021   10/25/2021
                                                                       11.03 AM     11:03AM
Pla-627   4 Aug 2014 MOBU Usage Example                           No   10/25/2021   10/25/2021
                                                                       11:03AM      11:03AM

Pla-628   6 Aug 2014 MOBU Usage Example                           No   10/25/2021   10/25/2021
                                                                       11:03AM      11:03AM
Pla-629   10 Sep 2014 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       11:03AM      11:03AM

Pla-630   10 Sep 2014 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       11:03AM      11:03AM
Pla-631   22 Sep 2014 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       11:03AM      11:03AM
Pla-632   21 Oct 2014 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       11:03AM      11:03AM
Pla-633   20 Nov 2014 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       11:03AM      11:03AM
Pla-634   21 Nov 2014 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       11:04AM      11:04AM
Pla-635   21 Nov 2014 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       11:04AM      11:04AM

Pla-636   21 Jan 2015 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       11.O4AM      11:04AM
Pla-637    10 Feb 2015 MOBU Usage Example                         No   10/25/2021   10/25/2021
                                                                       11:05AM      11:05AM

Pla-638   12 Feb 2015 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       11:05AM      11:05AM
Pla-639    19 Feb 2015 MOBU Usage Example                         No   10/25/2021   10/25/2021
                                                                       11:04AM      11:04AM

Pla-640   6 Mar 2015 MOBU Usage Example                           No   10/25/2021   10/25/2021
                                                                       11:05AM      11:05AM
Pla-641    18 Mar 2015 MOBU Usage Example                         No   10/25/2021   10/25/2021
                                                                       11:05AM      11:05AM

Pla642     20 Mar 2015 MOBU Usage Example                         No   10/25/2021   10/25/2021
                                                                       11:05AM      11:05AM
Pla-643    9 Apr 2015 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       11:05AM      11:05AM

Pla-644    11 Apr 2015 MOBU Usage Example                         No   10/25/2021   10/25/2021
                                                                       11:05AM      11:05AM
Pla-645    11 Apr 2015 MOBU Usage Example                         No   10/25/2021   10/25/2021
                                                                       11:05AM      11:05AM

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          I                                                            I         II          I



PIa-646   11 Apr 2015 MOBU Usage Example                         No    10/25/2021   10/25/2021
                                                                       11:06AM      1106AM
Pla-647   11 Apr 2015 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       11:06AM      11:06AM

Pla-648   22 Apr 2015 MOBU Usage Example                         No    10/25/2021   10/25/2021
                                                                       1106AM       11:06AM
Pla-649   29 Apr 2015 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       11:06AM      11:06AM
Pla-650   12 May 2015 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       11:06AM      11:06AM
Pla-651   12 May 2015 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       11:04AM      11:04AM
Pla-652   23 May 2015 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       104AM        11:04AM
Pla-653   2 Jun 2015 MOBU Usage Example                           No   10/25/2021   10/25/2021
                                                                       11:04AM      11:04AM
Pla-654   15 Jun 2015 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       11:04AM      11:04AM
Pla-655   15 Jun 2015 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       11:04AM      11:04AM
Pla-656   15 Jun 2015 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       11:04AM      11:04AM
Pla-657   15 Jun 2015 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       11:06AM      11:06AM
Pla-658   15 Jun 2015 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       11:06AM      11:06AM
Pla-659   15 Jun 2015 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       11:06AM      11:06AM
Pla-660   24 Jun 2015 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       11:06AM      11:06AM
Pla-661   7 Aug 2015 MOBU Usage Example                           No   10/25/2021   10/25/2021
                                                                       11:06AM      11:06AM
Pla-662   14 Aug 2015 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       1106AM       11:06AM
Pla-663   14 Sep 2015 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       11:06AM      11:06AM

Pla-664   16 Sep 2015 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       11:06AM      11:06AM
Pla-665   8 Oct 2015 MOBU Usage Example                           No   10/25/2021   10/25/2021
                                                                       11:06AM      11:06AM
Pla-666   8 Oct 2015 MOBU Usage Example                           No   10/25/2021   10/25/2021
                                                                       11:06AM      11:06AM
Pla-667   27 Oct 2015 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       11:06AM      11:06AM
Pla-668   28 Oct 2015 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       11:06AM      11:06AM
Pla-669   28 Oct 2015 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       11:06AM      11:06AM
Pla-670   28 Oct 2015 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                       11:06AM      11:06AM
Pla-671    19 Nov 2015 MOBU Usage Example                         No   10/25/2021   10/25/2021
                                                                       11:06AM      11:06AM
Pla-672   3 Dec 2015 MOBU Usage Example                           No   10/25/2021   10/25/2021
                                                                       11:07AM      11:07AM
Pla-673    16 Dec 2015 MOBU Usage Example                         No   10/25/2021   10/25/2021
                                                                       11:07AM      11:07AM

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 Pla-674   8 Jan 2016 MOBU Usage Example                           No   10/25/2021   10/25/2021
                                                                        11:07AM      11:07AM
 Pla-675   23 Feb 2016 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                        11:07AM      11:07AM
 Pla-676   25 Feb 2016 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                        11:07AM      11:07AM
 Pla-677   2 Mar 2016 MOBU Usage Example                           No   10/25/2021   10/25/2021
                                                                        11:07AM      11:07AM
 Pla-678   21 Mar 2016 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                        11:07AM      11:07AM
 Pla-679   29 Apr 2016 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                        11:07AM      11:07AM
 Pla-680   6 May 2016 MOBU Usage Example                           No   10/25/2021   10/25/2021
                                                                        11:07AM      11:07AM
 Pla-681   6 May 2016 MOBU Usage Example                           No   10/25/2021   10/25/2021
                                                                        11:07AM      11:07AM
 Pla-682   19 May 2016 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                        11:07AM      11:07AM
 Pla-683   20 Jul 2016 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                        11:07AM      11:07AM
 Pla-684   15 Aug 2016 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                        11:07AM      11:07AM
 Pla-685   5 Oct 2016 MOBU Usage Example                           No   10/25/2021   10/25/2021
                                                                        11:07AM      11:07AM
 Pla-686   5 Oct 2016 MOBU Usage Example                           No   10/25/2021   10/25/2021
                                                                        11:07AM      11:07AM
 Pla-687   30 Jan 2017 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                        11:07AM      11:07AM
 Pla-688   30 Jan 2017 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                        11:07AM      11:07AM
 Pla-689   6 Feb 2017 MOBU Usage Example                           No   10/25/2021   10/25/2021
                                                                        11:07AM      11:07AM
 Pla-690   6 Feb 2017 MOBU Usage Example                           No   1/25/2021    10/25/2021
                                                                        1107AM       11:07AM
 Pla-691   8 Feb 2017 MOBU Usage Example                           No   10/25/2021   10/25/2021
                                                                        11:07AM      11:07AM
 Pla-692   22 Feb 2017 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                        11:07AM      11:07AM
 Pla-693   22 Feb 2017 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                        11:08AM      11:08AM
 Pla-694   27 Feb 2017 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                        11:08AM      11:08AM
 Pla-695   27 Feb 2017 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                        11:08AM      11:08AM
 Pta-696   27 Feb 2017 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                        11:08AM      11:08AM
 Pla-697   20 Mar 2017 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                        11:08AM      11:08AM
 Pla-698   20 Mar 2017 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                        11:08AM      11:08AM
 Pla-699   24 Mar 2017 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                        11:08AM      11:08AM
 Pla-700   30 May 2017 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                        1108AM       11:08AM
 Pla-701   31 May 2017 MOBU Usage Example                          No   10/25/2021   10/25/2021
                                                                        11:08AM      11:08AM



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          I           I                                                 I        II
Pla-702   13 Jul 2017 MOBU Usage Example                          No    10/25/2021   10/25/2021
                                                                        10:06AM      10:06AM
Pla-703   1   Aug 2017 MOBU Usage Example                         No    10/25/2021   10/25/2021
                                                                        11:08AM      11:08AM
Pla-704   28 Aug 2017 MOBU Usage Example                          No    10/25/2021   10/25/2021
                                                                        11:08AM      11:08AM
Pla-705   13 Sep 2017 MOBU Usage Example                          No    10/25/2021   10/25/2021
                                                                        11:08AM      11:08AM
Pla-706   6 Oct 2017 MOBU Usage Example                           No    10/25/2021   10/25/2021
                                                                        11:08AM      11:08AM
Pla-707   6 Nov 2017 MOBU Usage Example                           No    10/25/2021   10/25/2021
                                                                        11:08AM      11:08AM
Pla-708   17 Jan 2018 MOBU Usage Example                          No    10/25/2021   10/25/2021
                                                                        11:08AM      11:08AM
Pla-709   19 Jan 2018 MOBU Usage Example                          No    10/25/2021   10/25/2021
                                                                        11:08AM      11:08AM
Pla-710   Commission Sheet Bates DSI 1796                         No

Pla-711   Commission Sheet Bates DSI 1798                         No

Pla-712   Commission Sheet Bates DSI 6470                         No

PIa-713   Commission Sheet Bates DSI 6475                         No

Pla-714   Commission Sheet Bates DSI 6476                         No

PIa-715   Commission Sheet Bates DSI 6486                         No

Pla-716   Commission Sheet Bates DSI 6487                         No

PIa-717   Commission Sheet Bates DSI 6499                         No

Pla-718   Commission Sheet Bates DSI 6538                         No,
Pla-719   Commission Sheet Bates DSI 6539                         No

Pla-720   Commission Sheet Bates DSI 6543                         No

Pla-721   Commission Sheet Bates DSI 6544                         No

Pla-722   Commission Sheet Bates DSI 6546                         No

Pla-723   Commission Sheet Bates DSI 6547                         No

Pla-724   Commission Sheet Bates DSI 6568                         No

Pla-725   Commission Sheet Bates DSI 6569                         No

Pla-726   Commission Sheet Bates DSI 6570                         No

Pla-727   Commission Sheet Bates DSI 6572                         No

Pla-728   Commission Sheet Bates DSI 6573                         No

Pla-729   Commission Sheet Bates DSI 6574                         No

Pla-730   Commission Sheet Bates DSI 6576                         No

Pla-731   Commission Sheet Bates DSI 6577                         No

PIa-732   Commission Sheet Bates DSI 6578                         No

Pla-733   Commission Sheet Bates DSI 6589                         No

Pla-734   Commission Sheet Bates DSI 6590                         No

Pla-735   Commission Sheet Bates DSI 6591                         No

Pla-736   Commission Sheet Bates DSI 6610                         No

Pla-737   Commission Sheet Bates DSI 6611                         No

Pla-738   Commission Sheet Bates DSI 6612                         No

Pla-739   Commission Sheet Bates DSI 7126                         No

Pla-740   Commission Sheet Bates DSI 7127                        No


                                            24
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          I                                                            I    I   I


Pla-741   Commission Sheet Bates DSI 7128                         No

Pla-742   Commission Sheet Bates DSI 7150                         No

PIa-743   Commission Sheet Bates DSI 7151                         No

Pla-744   Commission Sheet Bates OS! 7152                         No

Pla-745   Commission Sheet Bates OSI 7629                         No

PIa-746   Commission Sheet Bates OS! 7630                         No

PIa-747   Commission Sheet Bates DSI 7645                         No

PIa-748   Commission Sheet Bates OS! 7646                         No

Pla-749   Commission Sheet Bates DS! 7647                         No

Pla-750   Commission Sheet Bates DSI 7651                         No

Pla-751   Commission Sheet Bates DSI 7652                         No

PIa-752   Commission Sheet Bates DS! 7653                         No

Pla-753   Commission Sheet Bates DSI 7655                         No

PIa-754   Commission Sheet Bates DSI 7656                         No

PIa-755   Commission Sheet Bates 051 7658                         No

Pla-756   Commission Sheet Bates OS! 7659                         No

Pla-757   Commission Sheet Bates DSI 7660                         No

PIa-758   Sourcing Invoice Bates DSI 0484                         No

Pla-759   Sourcing Invoice Bates OS! 0485                         No

PIa-760   Sourcing Invoice Bates OS! 0486                         No

Pla-761   Sourcing Invoice Bates DSI 0487                         No

PIa-762   Sourcing Invoice Bates OS! 0488                         No

PIa-763   Sourcing Invoice Bates DS! 0490                         No

Pla-764   Sourcing !nvoce Bates DS! 0492                          No

PIa-765   Sourcing Invoice Bates DS! 0493                         No

PIa-766   Sourcing Invoce Bates OS! 0494                          No

Pla-767   Sourcing Invoice Bates DSI 0495                         No

Pla-768   Sourcing Invoice Bates OS! 0496                         No

PIa-769   Sourcing Invoice Bates DSI 0497                         No

Pla-770   Sourcing Invoice Bates OS! 0498                         No

PIa-771   Sourcing Invoice Bates OS! 0499                         No

PIa-772   Sourcing Invoice Bates OSI 0500                         No

Pla-773   Sourcing Invoice Bates OS! 0501                         No

PIa-774   Sourcing Invoice Bates 051 0502                         No

PIa-775   Sourcing Invoice Bates OS! 0503                         No

PIa-776   Sourcing Invoice Bates OSI 0504                         No

Pla-777   Sourcing Invoice Bates DSI 0505                         No

PIa-778   Sourcing Invoice Bates OS! 0506                         No

PIa-779   Sourcing Invoice Bates OS! 0507                         No

PIa-780   Sourcing Invoice Bates OS! 0508                         No

PIa-781   Sourcing Invoice Bates OS! 0509                         No

Pla-782   Sourcing Invoice Bates OS! 0510                         No

Pla-783   Sourcing Invoice Bates OS! 0511                         No

PIa-784   Sourcing Invoice Bates OS! 2353                         No


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                    I                                                       I   P   I


Pla-785   Sourcing Invoice Bates DSI 3539                         No

Pla-786   Sourcing Invoice Bates 051 3561                         No

PIa-787   Sourcing Invoice Bates DSI 3562                         No

Pla-788   Sourcing Invoice Bates DSI 3611                         No

Pla-789   Sourcing Invoice Bates DSI 3612                         No

PIa-790   Sourcing Invoice Bates 051 3637                         No

Pla-791   Sourcing Invoice Bates DSI 3645                         No

Pla-792   Sourcing Invoice Bates DSI 3646                         No

Pla-793   Sourcing Invoice Bates DSI 3661                         No

Pla-794   Sourcing Invoice Bates DSI 3664                         No

PIa-795   Sourcing Invoice Bates DSI 3665                         No

Pla-796   Sourcing Invoice Bates DSI 3676                         No

Pla-797   Sourcing Invoice Bates DSI 3700                         No

Pla798    Sourcing Invoice Bates 051 3702                         No

Pla-799   Sourcing Invoice Bates DSI 3725                         No

Pla-800   Sourcing Invoice Bates OSI 3726                         No

Pla-801   Sourcing Invoice Bates DSI 3876                         No

Pla802    Sourcing Invoice Bates DSI 3878                         No

PIa-803   Sourcing Invoice Bates DSI 3879                         No

PIa-804   Sourcing Invoice Bates DSI 3880                         No

PIa-805   Sourcing Invoice Bates DSI 3925                         No

Pla-806   Sourcing Invoice Bates DSI 3927                         No

Pla-807   Sourcing Invoice Bates DSI 3928                         No

PIa-808   Sourcing Invoice Bates DSI 3929                         No

Pla-809   Sourcing Invoice Bates DSI 3940                         No

PIa-810   Sourcing Invoice Bates DSI 3941                         No

PIa-811   Sourcing Invoice Bates DSI 3942                         No

Pla-812   Sourcing Invoice Bates DSI 3943                         No

PIa-813   Sourcing Invoice Bates DSI 3988                         No

PIa-814   Sourcing Invoice Bates DSI 3989                         No

Pla-815   Sourcing Invoice Bates DSI 3990                         No

PIa-816   Sourcing Invoice Bates DSI 4023                         No

PIa-817   Sourcing Invoice Bates DSI 4024                         No

PIa-818   Sourcing Invoice Bates 051 4026                         No

PIa-819   Sourcing Invoice Bates DSI 4036                         No

Pla-820   Sourcing Invoice Bates DSI 4037                         No

Pla-821   Sourcing Invoice Bates DSI 6430                         No

PIa-822   Sourcing Invoice Bates OSI 6724                         No

Pla-823   Sourcing Invoice Bates DSI 6725                         No

PIa-824   Sourcing Invoice Bates DSI 6726                         No

PIa-825   Sourcing Invoice Bates DSI 6727                         No

PIa-826   Sourcing Invoice Bates 051 6728                         No

PIa-827   Sourcing Invoice Bates DSI 6729                         No

          Sourcing Invoice Bates DSI 6730                         No


                                            26
          Case 1:18-cv-00978-RP Document 275 Filed 10/27/21 Page 27 of 62
          p         p                                                  p    p   p   p


Pla-829   Sourcing Invoice Bates DSI 6731                         No

PIa830    Sourcing Invoice Bates DSI 6732                         No

Pla-831   Sourcing Invoice Bates DSI 6733                         No

P1a-832   Sourcing Invoice Bates DSI 6734                         No

Pla-833   Sourcing Invoice Bates DSI 6742                         No

Pla834    Sourcing Invoice Bates DSI 6744                         No

Pla-835   Sourcing Invoice Bates DSI 6745                         No

Pla-836   Sourcing Invoice Bates OSI 6746                         No

Pla-837   Sourcing Invoice Bates DSI 6747                         No

Pla-838   Sourcing Invoice Bates DSI 6748                         No

Pla-839   Sourcing Invoice Bates DSI 6749                         No

PIa840    Sourcing Invoice Bates DSI 6750                         No

Pla-841   Sourcing Invoice Bates DSI 6751                         No

Pla-842   Sourcing Invoice Bates DSI 6752                         No

Pla-843   Sourcing Invoice Bates DSI 6753                         No

PIa-844   Sourcing Invoice Bates DSI 6754                         No

Pla-845   Sourcing Invoice Bates DSI 6755                         No

Pla-846   Sourcing Invoice Bates DSI 6756                         No

Pla-847   Sourcing Invoice Bates DSI 6757                         No

PIa-848   Sourcing Invoice Bates DSI 6758                         No

Pla-849   Sourcing Invoice Bates DSI 6759                         No

PIa-850   Sourcing Invoice Bates DSI 6760                         No

Pla-851   Sourcing Invoice Bates DSI 6761                         No

Pla-852   Sourcing Invoice Bates DSI 6762                         No

Pla-853   Sourcing Invoice Bates DSI 6763                         No

Pla-854   Sourcing Invoice Bates DSI 6764                         No

Pla-855   Sourcing Invoice Bates DSI 6765                         No

Pla-856   Sourcing Invoice Bates DSI 6766                         No

Pla-857   Sourcing Invoice Bates DSI 6767                         No

Pla-858   Sourcing Invoice Bates DSI 6768                         No

Pla-859   Sourcing Invoice Bates DSI 6770                         No

Pla-860   Sourcing Invoice Bates DSI 6771                         No

Pla-861   Sourcing Invoice Bates DSI 6772                         No

Pla-862   Sourcing Invoice Bates OSI 6773                         No

Pla-863   Sourcing Invoice Bates DSI 6774                         No

PIa-864   Sourcing Invoice Bates DSI 6775                         No

Pla-865   Sourcing Invoice Bates DSI 6776                         No

Pla-866   Sourcing Invoice Bates DSI 6778                         No

PIa-867   Sourcing Invoice Bates DSI 6780                         No

PIa-868   Sourcing Invoice Bates 051 6781                         No

Pla-869   Sourcing Invoice Bates DSI 6782                         No

PIa-870   Sourcing Invoice Bates DSI 6783                         No

Pla-871   Sourcing Invoice Bates DSI 6784                         No

Pla-872   Sourcing Invoice Bates 051 6785                         No


                                            27
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          I          I                                                 I    I   l
Pla-873   Sourcing Invoice Bates DSI 6786                         No

PIa874    Sourcing Invoice Bates 051 6787                         No

PIa-875   Sourcing Invoice Bates DSI 6788                         No

PIa-876   Sourcing Invoice Bates DSI 6789                         No

Pla-877   Sourcing Invoice Bates DSI 6790                         No

PIa-878   Sourcing Invoice Bates DSI 6791                         No

Pla-879   Sourcing Invoice Bates DSI 6792                         No

Pla-880   Sourcing Invoice Bates DSI 6793                         No

Pla-881   Sourcing Invoice Bates DSI 6794                         No

Pla-882   Sourcing Invoice Bates DSI 6795                         No

Pla-883   Sourcing Invoice Bates DSI 6796                         No

PIa-884   Sourcing Invoice Bates DSI 6797                         No

Pla-885   Sourcing Invoice Bates DSI 6798                         No

Pla886    Sourcing Invoice Bates DSI 6799                        No

Pla-887   Sourcing Invoice Bates DSI 6800                         No

PIa-888   Sourcing Invoice Bates DSI 6801                        No

Pla-889   Sourcing Invoice Bates DSI 6802                         No

PIa890    Sourcing Invoice Bates DSI 6803                         No

Pla-891   Sourcing Invoice Bates DSI 6804                         No

Pla-$92   Sourcing Invoice Bates DSI 6805                         No

Pla-893   Sourcing Invoice Bates DSI 6806                         No

Pla-894   Sourcing Invoice Bates DSI 6807                         No

Pla-895   Sourcing Invoice Bates DSI 6808                         No

PIa-896   Sourcing Invoice Bates DSI 6809                         No

Pla-897   Sourcing Invoice Bates DSI 6810                         No

Pla-898   Sourcing Invoice Bates DSI 6811                         No

Pla-899   Sourcing Invoice Bates DSI 6812                         No

PIa-900   Sourcing Invoice Bates DSI 6813                         No

Pla-901   Sourcing Invoice Bates DSI 6814                         No

PIa-902   Sourcing Invoice Bates DSI 6815                         No

Pla-903   Sourcing Invoice Bates DSI 6816                         No

PIa-904   Sourcing Invoice Bates OSI 6817                         No

Pla-905   Sourcing Invoice Bates DSI 6818                         No

RIa906    Sourcing Invoice Bates 061 6819                         No

Pla-907   Sourcing Invoice Bates DSI 6820                         No

Pla-908   Sourcing Invoice Bates DSI 6821                         No

Pla-909   Sourcing Invoice Bates DSI 6822                         No

PIa-910   Sourcing Invoice Bates DSI 6823                         No

Pla-911   Sourcing Invoice Bates DSI 6824                         No

PIa-912   Sourcing Invoice Bates OSI 6825                         No

Pla-913   Sourcing Invoice Bates DSI 6826                         No

Pla-914   Sourcing Invoice Bates DSI 6827                         No

Pla-915   Sourcing Invoice Bates DSI 6828                         No

Pla-916   Sourcing Invoice Bates 091 6829                         No


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Pla-917   Sourcing Invoice Bates DSI 6830                         No

Pla-918   Sourcing Invoice Bates OSI 6831                        No

Pla-919   Sourcing Invoice Bates DSI 6832                         No

Pla-920   Sourcing Invoice Bates DSI 6833                         No

Pla-921   Sourcing Invoice Bates DSI 6834                         No

PIa-922   Sourcing Invoice Bates DSI 6835                         No

Pla-923   Sourcing Invoice Bates DSI 6836                         No

PIa-924   Sourcing Invoice Bates D$I 6837                         No

Pla-925   Sourcing Invoice Bates DSI 6838                         No

Pla-926   Sourcing Invoice Bates DSI 6839                         No

Pla-927   Sourcing Invoice Bates DSI 6840                         No

RIa-928   Sourcing Invoice Bates DSI 6841                         No

Pla-929   Sourcing Invoice Bates DSI 6842                         No

PIa-930   Sourcing Invoice Bates DSI 6843                         No

Pla-931   Sourcing Invoice Bates DSI 6844                         No

Pla932    Sourcing Invoice Bates DSI 6969                         No

Pla-933   Sourcing Invoice Bates DSI 7107                         No

Pla-934   Sourcing Invoice Bates DSI 7108                         No

PIa-935   Sourcing Invoice Bates DSI 7109                         No

PIa-936   Sourcing Invoice Bates DSI 7111                         No

PIa-937   Sourcing Invoice Bates DSI 7112                         No

PIa-938   Sourcing Invoice Bates DSI 7114                         No

Pla-939   Sourcing Invoice Bates DSI 7115                         No

PIa-940   Sourcing Invoice Bates DSI 7116                         No

Pla-941   Sourcing Invoice Bates DSI 7124                         No

Pta-942   Sourcing Invoice Bates DSI 7130                         No

Pla-943   Sourcing Invoice Bates DSI 7132                         No

Pta-944   Sourcing Invoice Bates DSI 7147                         No

Pla-945   Sourcing Invoice Bates DSI 7148                         No

Pla-946   Sourcing Invoice Bates DSI 7154                         No

PIa-947   Sourcing Invoice Bates DSI 7155                         No

Pla-948   Sourcing Invoice Bates DSI 7157                         No

Pla-949   Sourcing Invoice Bates DSI 7159                         No

PIa-950   Sourcing Invoice Bates OSI 7160                         No

Pla-951   Sourcing Invoice Bates DSI 7161                         No

Pla-952   Sourcing Invoice Bates DSI 7162                         No

Pla-953   Sourcing Invoice Bates DSI 7163                         No

Pla-954   Sourcing Invoice Bates DSI 7165                         No

PIa-955   Sourcing Invoice Bates DSI 7167                         No

PIa-956   Sourcing Invoice Bates DSI 7169                         No

PIa-957   Sourcing Invoice Bates DSI 7231                         No

PIa-958   Sourcing Invoice Bates DSI 7232                         No

Pla-959   Sourcing Invoice Bates OSI 7233                         No

Pla-960   Sourcing Invoice Bates DSI 7695                         No




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i*1i()i
PIa-961     Sourcing Invoice Bates DSI 7696                         No

PIa-962     Pro For-ma Bates DSI 1112                              No

Pla-963     Pro Forma Bates DSI 1113                                No

Pla-964     Pro Forma Bates DSI 1244                               No

PIa-965     Pro Forma Bates DSI 1760                                No

PIa-966     Pro For-ma Bates DSI 1761                               No

Pla-967     Pro Forma Bates DSI 1784                                No

PIa-968     Pro Forma Bates DSI 1785                               No

Pla-969     Pro Forma Bates DSI 1789                                No

PIa-970     Pro Forma Bates DSI 1800                                No

PIa-971     Pro Forma Bates DSI 1802                                No

Pta-972     Pro For-ma Bates DSI 1809                               No

PIa-973     Pro Forma Bates DSI 1812                                No

PIa-974     Pro For-ma Bates DSI 1816                               No

PIa-975     Pro Forma Bates DSI 1819                                No

PIa-976     Pro For-ma Bates DSI 1822                               No

Pla-977     Pro Forma Bates DSI 1848                                No

Pla-978     Pro Forma Bates DSI 1849                               No

Pla-979     Pro Forma Bates DSI 1873                                No

Pia-980     Pro Forma Bates DSI 1874                                No

Pla-981     Pro Forma Bates DSI 1880                                No

PIa-982     Pro For-ma Bates DSI 1881                               No

 PIa-983    Pro Forma Bates DSI 1894                                No

Pla-984     Pro For-ma Bates DSI 1895                               No

 PIa-985    Pro Forma Bates DSI 1897                                No

 PIa-986    Pro For-ma Bates DSI 1898                               No

 Pla-987    Pro Forma Bates DSI 1909                                No

 PIa-988    Pro For-ma Bates DSI 1910                               No

 Pla-989    Pro Forma Bates DSI 1911                                No

Pla-990     Pro Forma Bates DSI 1945                                No

 Pla-991    Pro Forma Bates DSI 1957                                No

PIa-992     Pro For-ma Bates DSI 1959                               No

 PIa-993    Pro For-ma Bates DSI 2002                               No

 Pla-994    Pro For-ma Bates DSI 2004                               No

 PIa-995    Pro For-ma Bates DSI 2009                               No

 PIa-996    Pro Forma Bates D$I 2010                                No

 Pla-997    Pro Forma Bates DSI 2011                                No

 PIa-998    Pro For-ma Bates DSI 2012                               No

 Pla-999     Pro Forma Bates DSI 2030                               No

 Pla-1000   Pro For-ma Bates OSI 2031                               No

 Pla-lOOl    Pro For-ma Bates DSI 2194                              No

 Pta-1002   Pro For-ma Bates DSI 2195                               No

 Pla-1003    Pro For-ma Bates DSI 2196                              No

 PIa-1004    Pro For-ma Bates OSI 2212                              No


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PIa-1005    Pro Forma Bates DSI 2213                               No

PIa-i.006   Pro Forma Bates DSI 2214                               No

PIa-1007    Pro Forma Bates DSI 2240                               No

PIa-1008    Pro Forma Bates DSI 2241                               No

PIa-1009    Pro Forma Bates DSI 2242                               No

Pta-1010    Pro Forma Bates DSI 2243                               No

Pla-1011    Pro Forma Bates DSI 2248                                No

PIa-1012    Pro Forma Bates DSI 2249                                No

PIa-1013    Pro Forma Bates DSI 2250                                No

PIa-1014    Pro Forma Bates 051 2251                                No

PIa-1015    Pro Forma Bates DSI 2264                                No

Pta-1016    Pro Forrna Bates DSI 2265                               No

PIa-1017    Pro Forma Bates DSI 2266                                No

PIa-1018    Pro Forma Bates 051 2267                                No

PIa-1019    Pro Forma Bates DSI 2291                                No

PIa-1020    Pro Forma Bates DSI 2292                                No

PIa-1021    Pro Forma Bates DSI 2293                                No

PIa-1022    Pro Forma Bates DSI 2294                                No

PIa-1023    Pro Forma Bates DSI 2296                                No

PIa-1024    Pro Forma Bates DSI 2298                                No

Pla-1025    Pro Forma Bates DSI 2314                                No

PIa-1026    Pro Forma Bates DSI 2315                                No

PIa-1027    Pro Forma Bates DSI 2316                                No

PIa-1028    Pro Forma Bates DSI 2361                                No

PIa-1029    Pro Forma Bates DSI 2362                                No

PIa-1030    Pro Forma Bates DSI 2364                                No

PIa-1031    Pro Forma Bates DSI 2365                                No

PIa-1032    Pro Forma Bates DSI 2366                                No

PIa-1033    Pro Forma Bates DSI 2367                                No

Pia-1034    Pro Forma Bates OSI 2369                                No

PIa-1035    Pro Forma Bates DSI 2370                                No

PIa-1036    Pro Forma Bates OSI 2371                                No

PIa-1037    Pro Forma Bates DSI 2372                                No

PIa-1038    Pro Forma Bates DSI 2374                                No

PIa-1039    Pro Forma Bates DSI 2385                                No

PIa-1040    Pro Forma Bates DSI 2386                                No

PIa-1041    Pro Forma Bates DSI 2387                                No

Pta-1042    Pro Forma Bates DSI 2388                                No

PIa-1043     Pro Forma Bates DSI 2394                               No

PIa-1044     Pro Forma Bates DSI 2483                               No

PIa-1045     Pro Forma Bates OSI 2529                               No

Pta-1046     Pro Forma Bates DSI 2530                               No

PIa-1047     Pro Forma Bates DSI 2532                               No

PIa-1048    Pro Forma Bates DSI 2546                                No


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Pta- 1049   Pro Forma Bates DSI 2547                                No

Pta-1050    Pro Forma Bates 051 2548                                No

Pta- 1051   Pro Forma Bates DSI 2551                                No

Pa-1052     Pro Forma Bates DSI 2552                                No

Pta- 1053   Pro Forma Bates DSI 2553                                No

Pta-1054    Pro Forma Bates DSI 2555                                No

Pta-1055    Pro Forma Bates DSI 2556                                No

PIa-1056    Pro For-ma Bates DS1 2557                               No

PIa-1057    Pro Forma Bates DSI 2558                                No

PIa-1058    Pro Forma Bates OSI 2559                                No

PIa-1059    Pro Forma Bates DSI 2560                                No

PIa-1060    Pro For-ma Bates DSI 2563                               No

PIa-1061    Pro Forma Bates DSI 2564                                No

PIa-1062    Pro For-ma Bates DSI 2565                               No

PIa-1063    Pro Forma Bates DSI 2571                                No

PIa-1064    Pro For-ma Bates DSI 2572                               No

PIa-1065    Pro Forma Bates DSI 2573                                No

Pla-1066    Pro For-ma Bates DSI 2583                               No

PIa- 1067   Pro Forma Bates DSI 2584                                No

PIa-1068    Pro For-ma Bates DSI 2592                               No

PIa- 1069   Pro Forma Bates DSI 2593                                No

PIa-1070    Pro Forrna Bates DSI 2595                               No

PIa- 1071   Pro Forma Bates DSI 2596                                No

Pta-1072    Pro Forma Bates 051 2599                                No

Pta- 1073   Pro Forma Bates DSI 2600                                No

PIa-1074    Pro For-ma Bates DSI 2607                               No

Pta- 1075   Pro Forma Bates DSI 2608                                No

PIa-1076    Pro Forma Bates OSI 2612                                No

Pta- 1077   Pro Forma Bates DSI 2613                                No

Pta-1078    Pro For-ma Bates OSI 2615                               No

Pta-1079    Pro Forma Bates DSI 2616                                No

Pta-1080    Pro Forma Bates OSI 2621                                No

Pta-1081    Pro Forma Bates DSI 2622                                No

Pta-1082    Pro For-ma Bates DSI 2627                               No

PIa-1083    Pro Forma Bates DSI 2628                                No

Pta-1084    Pro For-ma Bates DSI 2655                               No

PIa-1085    Pro Forma Bates DSI 2656                                No

Pta- 1086   Pro Forma Bates DSI 2659                                No

PIa-1087    Pro Forma Bates DSI 2660                                No

Pta- 1088   Pro For-ma Bates DSI 2675                               No

PIa-1089    Pro Forma Bates DSI 2676                                No

PIa-1090    Pro Forma Bates DSI 2679                                No

PIa-1091    Pro Forma Bates DSI 2680                                No

PIa-1092    Pro For-ma Bates 051 2687                               No


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             p         I                                                      I   I


PIa- 1093   Pro Forma Bates DSI 2690                                No

Pta-1094    Pro Forma Bates DSI 2698                                No

PIa-1095    Pro Forma Bates DSI 2699                                No

PIa-1096    Pro Forma Bates DSI 2704                                No

PIa-1097    Pro Forma Bates DSI 2705                                No

PIa-1098    Pro Forma Bates DSI 2709                                No

PIa-1099    Pro Forma Bates DSI 2710                                No

PIa-1100    Pro Forma Bates DSI 2713                                No

PIa-1101    Pro Forma Bates DSI 2714                                No

PIa1102     Pro Forma Bates DSI 2744                                No

PIa-1 103   Pro Forma Bates DSI 2884                                No

PIa-1104    Pro Forma Bates DSI 2886                                No

PIa-1 105   Pro Forma Bates DSI 2935                                No

Pa-1106     Pro Forrna Bates DSI 3073                               No

PIa-1107    Pro Forma Bates DSI 3075                                No

PIa-1108    Pro Forma Bates DSI 3191                                No

Pla-1109    Pro Forma Bates DSI 3192                                No

Pta-1110    Pro Forma Bates DSI 3197                                No

Pla-illi    Pro Forma Bates DSI 3198                                No

Na-1112     Pro Forma Bates DSI 3232                                No

Pla-1113    Pro Forma Bates DSI 3234                                No

PIa-1114    Pro Forma Bates DSI 3236                                No

PIa-1115    Pro Forma Bates DSI 3240                                No

PIa-1116    Pro Forma Bates DSI 3241                                No

PIa-1117    Pro Forma Bates DSI 3250                                No

Pa-1118     Pro Forma Bates DSI 3251                                No

PIa-1119    Pro Forma Bates DSI 3252                                No

PIa-1120    Pro Forma Bates DSI 3263                                No

PIa- 1121   Pro Forma Bates DSI 3264                                No

PIa-1122    Pro Forma Bates DSI 3266                                No

PIa- 1123   Pro Forma Bates DSI 3267                                No

PIa-1124    Pro Forma Bates DSI 3268                                No

PIa- 1125   Pro Forma Bates DSI 3269                                No

PIa-1126    Pro Forma Bates DSI 3270                                No

PIa-1127    Pro Forma Bates DSI 3273                                No

PIa-1128    Pro Forma Bates DSI 3274                                No

PIa-1129    Pro Forma Bates DSI 3276                                No

PIa-1130    Pro Forma Bates DSI 3277                                No

PIa- 1131   Pro Forma Bates DSI 3278                                No

PIa-1132    Pro Forma Bates OSI 3279                                No

PIa- 1133   Pro Forma Bates DSI 3281                                No

Pta-1134    Pro Forma Bates DSI 3282                                No

PIa- 1135   Pro Forma Bates DSI 328.3                               No

PIa-1136    Pro Forma Bates OSI 3284                                No


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                                                                    it.


PIa-1137    Pro Forma Bates DSI 3286                                No

Pla-1138    Pro Forma Bates DS 3289                                 No

PIa-1139    Pro Forma Bates DSI 3290                                No

PIa-1140    Pro Forma Bates DSI 3291                                No

PIa-1141    Pro Forma Bates DSI 3292                                No

PIa-1142    Pro Forma Bates DSI 3299                                No

PIa-1143    Pro Forma Bates DSI 3300                                No

PIa-1144    Pro Forma Bates DSI 3304                                No

PIa-1145    Pro Forma Bates DSI 3305                                No

Pta-1146    Pro Forma Bates DSI 3309                                No

PIa-1147    Pro Forma Bates DSI 3310                                No

Pta-1148    Pro Forrna Bates DSI 3311                               No

PIa-1149    Pro Forma Bates DSI 3313                                No

Pta-1150    Pro Forma Bates DSI 3314                                No

PIa-1151    Pro Forma Bates DSI 3315                                No

PIa-1152    Pro Forma Bates DSI 3316                                No

PIa-1153    Pro Forma Bates DSI 3337                                No

PIa-1154    Pro Forma Bates DSI 3343                                No

PIa-1155    Pro Forma Bates DSI 3344                                No

Pta-1156    Pro Forma Bates OSI 3349                                No

PIa-1157    Pro Forma Bates DSI 3350                                No

PIa-1158    Pro Forma Bates DSI 3355                                No

PIa-1159    Pro Forma Bates DSI 3363                                No

Pta-1160    Pro Forma Bates DSI 3368                                No

PIa-1161    Pro Forma Bates DSI 3369                                No

Pta-1162    Pro Forma Bates DSI 3383                                No

PIa-1163    Pro Forma Bates DSI 3384                                No

P18-1164    Pro For-ma Bates DSI 3385                              No

PIa-1165    Pro Forma Bates DSI 3386                                No

Pta-1166    Pro Forma Bates OSI 3387                               No

PIa-1167    Pro Forma Bates DSI 3388                                No

PIa-1168    Pro Forma Bates DSI 3389                                No

PIa-1169    Pro Forma Bates DSI 3390                                No

PIa-1i70    Pro Forma Bates DSI 3391                                No

PIa-1171    Pro Forma Bates DSI 3392                                No

Pta-i 172   Pro Forma Bates DSI 3393                               No

PIa-1173    Pro Forma Bates OSI 3400                                No

PIa-1174    Pro Forma Bates DSI   340i                             No

PIa-1175    Pro Forma Bates DSI 3402                                No

Pla-1176    Pro For-ma Bates DSI 3403                              No

PIa-1177    Pro Forma Bates DSI 3404                               No

Pta-1178    Pro Forma Bates DSI 3429                               No

PIa-1179    Pro Forma Bates DSI 3435                               No

Pla-1180    Pro Forma Bates DSI 3436                               No


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PIa-1181   Pro Forma Bates DSI 3438                                No

PIa-1182   Pro Forma Bates DSI 3441                                No

PIa-1183   Pro Forma Bates DSI 3443                                No

PIa-1184   Pro Fat-ma Bates DSI 3444                               No

PIa-1185    Pro Forma Bates DSI 3445                               No

Pa-1186    Pro Forma Bates DSI 3447                                No

PIa-1187   Pro Forma Bates DSI 3448                                No

PIa-1188   Pro Forma Bates DSI 3449                                No

PIa-1189    Pro Forma Bates DSI 3450                               No

Pla-1190   Pro Forma Bates DSI 3451                                No

PIa-1191    Pro Forma Bates DSI 3452                               No

Pa-1192    Pro Forma Bates DSI 3456                                No

PIa-1193    Pro Forma Bates DSI 3457                               No

PIa-1194   Pro Forma Bates DSI 3458                                No

PIa-1195    Pro Forma Bates DSI 3459                               No

PIa-1196   Pro Forma Bates DSI 3460                                No

PIa-1197    Pro Forma Bates DSI 3461                               No

Pia-1198   Pro Forma Bates 051 3469                                No

PIa-1199   Pro Forma Bates DSI 3471                                No

PIa-1200   Pro Forma Bates DSI 3473                                No

Pla-1201    Pro Forma Bates DSI 3475                               No

PIa-1202   Pro Forma Bates DSI 3476                                No

PIa-1203    Pro Forma Bates DSI 3478                               No

PIa-1204   Pro Forma Bates DSI 3479                                No

Pla-1205    Pro Forma Bates DSI 3486                               No

PIa-1206   Pro Forma Bates DSI 3487                                No

PIa-1207    Pro Forma Bates DSI 3489                               No

Pa-1208    Pro Fat-ma Bates DSI 3490                               No

PIa-1209    Pro Forma Bates DSI 3492                               No

PIa-1210   Pro Forma Bates DSI 3493                                No

PIa-1211    Pro Forma Bates DSI 3495                               No

P(a-1212   Pro Forma Bates DSI 3497                                No

PIa-1213    Pro Forma Bates DSI 3499                               No

Pa-1214    Pro Forma Bates DSI 3500                                No

PIa-1215    Pro Forma Bates DSI 3501                               No

Pa-1216    Pro Forma Bates DSI 3504                                No

PIa-1217    Pro Forma Bates DSI 3509                               No

Pta-1218   Pro Forma Bates OSI 3510                                No

PIa-1219    Pro Forma Bates DSI 3511                               No

Pa-1220    Pro Forma Bates    05! 3513                             No

PIa-1221    Pro Forma Bates DSI 3514                               No

Pa-1222    Pro Forma Bates DSI 3519                                No

PIa-1223    Pro Forma Bates DSI 3520                               No

PIa-1224   Pro Fat-ma Bates   LDSI   3521                          No


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PIa- 1225    Pro Forma Bates DSI 3527                               No

PIa-1226    Pro Forrna Bates DSI 3528                               No

PIa- 1227   Pro Forma Bates DSI 3532                                No

PIa-1228    Pro Forma Bates DSI 3542                                No

Pta- 1229   Pro Forma Bates DSI 3543                                No

Pta-1230    Pro Forma Bates DSI 3544                                No

Pta- 1231   Pro Forma Bates DSI 3549                                No

Pta-1232    Pro Forma Bates DSI 3550                                No

PIa- 1233   Pro Forma Bates DSI 3554                                No

Pta-1234    Pro Forma Bates DSI 3555                                No

PIa- 1235   Pro Forma Bates DSI 3565                                No

Pta-1236    Pro Forrna Bates DSI 3568                               No

PIa- 1237   Pro Forma Bates DSI 3569                                No

Pta-1238    Pro Forma Bates DSI 3570                                No

PIa- 1239   Pro Forma Bates DSI 3574                                No

Pta-1240    Pro Forma Bates DSI 3575                                No

PIa- 1241   Pro Forma Bates DSI 3577                                No

Pta-1242    Pro Forma Bates 051 3579                                No

PIa- 1243   Pro Forma Bates DSI 3580                                No

PIa-1244    Pro Forma Bates DSI 3587                                No

PIa- 1245   Pro Forma Bates DSI 3588                                No

Pta-1246    Pro Forma Bates DSI 3589                                No

PIa- 1247   Pro Forma Bates DSI 3590                                No

Pla-1248    Pro Forma Bates DSI 3600                                No

PIa- 1249   Pro Forma Bates DSI 3601                                No

Pta-1250    Pro Forma Bates DSI 3602                                No

PIa- 1251   Pro Forma Bates DSI 3603                                No

PIa-1252    Pro Forma Bates DSI 3604

PIa- 1253   Pro Forma Bates DSI 3605                                No

Pta-1254    Pro Forma Bates 051 3618                                No

PIa- 1255   Pro Forma Bates DSI 3619                                No

Pta-1256    Pro Forma Bates DSI 3621                                No

PIa- 1257   Pro Forma Bates DSI 3622                                No

Pta-1258    Pro Forma Bates DSI 3623                                No

PIa- 1259   Pro Forma Bates DSI 3624                                No

Pta-1260    Pro Forma Bates 051 3625                                No

PIa- 1261   Pro Forma Bates DSI 3628                                No

Pta-1262    Pro Forma Bates DSI 3629                                No

PIa- 1263   Pro Forma Bates DSI 3648                                No

Pta-1264    Pro Forma Bates 051 3649                                No

PIa- 1265   Pro Forma Bates DSI 3651                                No

PIa-1266    Pro Forma Bates DSI 3652                                No

Pta- 1267   Pro Forma Bates DSI 3654                                No

Pta-1268    Pro Forma Bates 051 3655                                No


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 PIa-1269   Pro Forma Bates DSI 3657                                No

 PIa-1270   Pro Forma Bates OSI 3658                               No

 PIa-1271   Pro Forma Bates DSI 3668                                No

 PIa-1272   Pro Forma Bates DSI 3669                               No

 PIa-1273   Pro Forma Bates DSI 3673                                No

 PIa-1274   Pro Forma Bates OSI 3674                                No

 PIa-1275   Pro Forma Bates DSI 3688                                No

 PIa-1276   Pro Forma Bates DSI 3689                                No

 PIa-1277   Pro Forma Bates DSI 3697                                No

 PIa-1278   Pro Forma Bates DSI 3698                                No

 PIa-1279   Pro Forma Bates DSI 3704                                No

 PIa-1280   Pro Forrna Bates DSI 3705                               No

 PIa-1281   Pro Forma Bates OSI 3708                                No

 PIa-1282   Pro Forma Bates DSI 3709                                No

 PIa-1283   Pro Forma Bates DSI 3710                                No

 Pla-1284   Pro Forma Bates OSI 3711                                No

 PIa-1285   Pro Forma Bates DSI 3712                                No

 PIa-1286   Pro Forma Bates DSI 3713                                No

 Pla-1287   Pro Forma Bates DSI 3721                                No

 PIa-1288   Pro Forma Bates DSI 3723                                No

 PIa-1289   Pro Forma Bates DSI 3732                                No

 Pa-1290    Pro Forma Bates DSI 3733                                No

 PIa-1291   Pro Forma Bates DSI 3735                                No

 PIa-1292   Pro Forma Bates DSI 3736                                No

 PIa-1293   Pro Forma Bates DSI 3739                                No

 PIa-1294   Pro Forma Bates DSI 3740                                No

 PIa-1295   Pro Forma Bates DSI 3741                                No

 PJa-1296   Pro Forma Bates DSI 3742                                No

 PIa-1297   Pro Forma Bates DSI 3745                                No

 PJa-1298   Pro Forma Bates DSI 3746                                No

 PIa-1299   Pro Forma Bates DSI 3747                                No

 PIa-1300   Pro Forma Bates DSI 3748                                No

 PIa-1301   Pro Forma Bates DSI 3756                                No

 PIa13O2    Pro Forma Bates DSI 3768                                No

 PIa-1303   Pro Forma Bates DSI 3769                                No

 PIa-1304   Pro Forma Bates DSI 3770                                No

 PIa-1305   Pro Forma Bates OSI 3771                                No

 Pla-1306   Pro Forma Bates DSI 3772                                No

 PIa-1307   Pro Forma Bates DSI 3773                                No

 PIa-1308   Pro Forma Bates DSI 3774                                No

 PIa-1309   Pro Forma Bates DSI 3775                                No

 Pla-1310   Pro Forma Bates DSI 3776                                No

 PIa-1311   Pro Forma Bates DSI 3777                                No

 PIa-1312   Pro Forma Bates DSI 3784                                No


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PIa-1313   Pro Forma Bates DSI 3785                                No

PIa-1314   Pro Forma Bates DSI 3786                               No

PIa-1315   Pro Forma Bates DSI 3787                                No

Pla-1316   Pro Forma Bates DSI 3788                               No

PIa-1317   Pro Forma Bates DSI 3789                                No

Pta-1318   Pro Forma Bates DSI 3790                                NO

Pla-1319   Pro Forma Bates DSI 3791                                No

Pla-1320   Pro Forma Bates DSI 3792                                No

PIa-1321   Pro Forma Bates DSI 3793                                No

PIa-1322   Pro Forma Bates DSI 3800                               No

PIa-1323   Pro Forma Bates DSI 3801                                No

Pa-1324    Pro Forrna Bates DSI 3802                               No

PIa-1325   Pro Forma Bates DSI 3803                                No

Pla-1326   Pro Forma Bates DSI 3804                                No

PIa-1327   Pro Forma Bates DSI 3805                                No

Pa-1328    Pro Forma Bates DSI 3806                                No

PIa-1329   Pro Forma Bates DSI 3807                                No

PIa-1330   Pro Forma Bates DSI 3813                                No

PIa-1331   Pro Forma Bates DSI 3814                                No

PIa-1332   Pro Forma Bates DS1 3815                                NO
PIa-1333   Pro Forma Bates DSI 3816                                No

PIa-1334   Pro Forma Bates DSI 3820                                No

PIa-1335   Pro Forma Bates DSI 3821                                No

Pta-1336   Pro Forma Bates DS1 3822                               No

PIa-1337   Pro Forma Bates DSI 3823                                No

PIa-1338   Pro Forma Bates DSI 3837                                No

PIa-1339   Pro Forma Bates DSI 3838                                No

PIa-1340   Pro Forma Bates DSI 3839                                No

PIa-1341   Pro Forma Bates DSI 3840                                No

PIa-1342   Pro Forma Bates DSI 3841                                No

PIa-1343   Pro Forma Bates DSI 3842                                No

PIa-1344   Pro Forma Bates DSI 3847                                No

PIa-1345   Pro Forma Bates DSI 3848                                No

PIa-1346   Pro Forma Bates DSI 3853                                No

PIa-1347   Pro Forma Bates DSI 3854                                No

PIa-1348   Pro Forma Bates OSI 3855                                No

PIa-1349   Pro Forma Bates DSI 3856                                No

PIa-1350   Pro Forma Bates DSI 3857                                No

PIa-1351   Pro Forma Bates DSI 3858                                No

Pta-1352   Pro Forma Bates DSI 3859                                No

PIa-1353   Pro Forma Bates DSI 3860                                No

PIa-1354   Pro Forma Bates DSI 3861                                No

PIa-1355   Pro Forma Bates DSI 3862                                No

PIa-1356   Pro Forrna Bates DSI 3863                               No


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PIa-1357   Pro Forma Bates DSI 3864                                No

Pta-1358   Pro Forma Bates DSI 3884                                No

PIa-1359   Pro Forma Bates DSI 3885                                No

PIa-1360   Pro Forma Bates DSI 3886                                No

PIa-1361   Pro For-ma Bates DSI 3887                               No

PIa-1362   Pro For-ma Bates DSI 3891                               No

PIa-1363   Pro Forma Bates DSI 3892                                No

P1a4364    Pro Forma Bates DSI 3893                                No

PIa-1365   Pro Forma Bates DSI 3894                                No

PIa-1366   Pro Forma Bates DSI 3898                                No

PIa-1367   Pro Forma Bates DSI 3899                                No

PIa-1368   Pro For-ma Bates DSI 3900                               No

PIa-1369   Pro Forma Bates DSI 3901                                No

PIa-1370   Pro Forma Bates DSI 3945                                No

PIa-1371   Pro Forma Bates DSI 3947                                No

PIa-1372   Pro Forma Bates DSI 3953                                No

PIa-1373   Pro For-ma Bates DSI 3955                               No

PIa-1374   Pro Forma Bates OSI 3962                                No

PIa-1375   Pro Forma Bates DSI 3963                                No

PIa-1376   Pro For-ma Bates DSI 3964                               No

PIa-1377   Pro Forma Bates DSI 3965                                No

PIa-1378   Pro For-ma Bates DSI 3969                               No

PIa-1379   Pro Forma Bates DSI 3970                                No

Pta-1380   Pro For-ma Bates DSI 3971                               No

PIa-1381   Pro Forma Bates DSI 3972                                No

PIa-1382   Pro Forma Bates DSI 3977                                No

Pla-1383   Pro Forma Bates DSI 3978                                No

Pa-1384    Pro For-ma Bates DSI 3979                               No

PIa-1385   Pro Forma Bates DSI 3981                                No

PIa-1386   Pro For-ma Bates DSI 3982                               No

PIa-1387   Pro For-ma Bates DSI 3985                               No

PIa-1388   Pro For-ma Bates DSI 3992                               No

PIa-1389   Pro Forma Bates DSI 3993                                No

Pla-1390   Pro For-ma Bates OS! 3994                               No

PIa-1391   Pro Forma Bates DSI 3995                                No

PIa-1392   Pro For-ma Bates DSI 3996                               No

PIa-1393   Pro Forma Bates DSI 3997                                No

PIa-1394   Pro For-ma Bates OS! 4007                               No

PIa-1395   Pro Forma Bates DSI 4008                                No

PIa-1396   Pro Forma Bates OS! 4009                                No

PIa-1397   Pro For-ma Bates OSI 4010                               No

PIa-1398   Pro Forma Bates OS! 4098                                No

PIa-1399   Pro For-ma Bates DSI 4099                               No

Pla-1400   Pro For-ma Bates DSI 4103                               No


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PIa-1401    Pro For-ma Bates DSI 4104                               No

PIa- 1402   Pro For-ma Bates DSI 4105                               No

PIa-1403    Pro Forma Bates DSI 4106                                No

Pta-1404    Pro Forma Bates DSI 4107                                No

PIa-1405    Pro Forma Bates DSI 4159                                No

Pia-1406    Pro For-ma Bates DST 4160                              No

PIa-1407    Pro Forma Bates DSI 4161                                No

P(a-1408    Pro Forma Bates DSI 4162                               No

PIa-1409    Pro Forma Bates DSI 4163                                No

Pla-1410    Pro For-ma Bates DSI 4166                               No

PIa-1411    Pro Forma Bates DSI 4167                                No

PIa-1412    Pro Forma Bates DSI 4169                               No

PIa-1413    Pro Forma Bates DSI 4170                                No

PIa-1414    Pro Forma Bates DSI 4171                               No

PIa-1415    Pro Forma Bates DSI 4172                                No

PIa-1416    Pro For-ma Bates DSI 4173                               No

PIa-1417    Pro Forma Bates DSI 5108                                No

PIa-1418    Pro Forma Bates DSI 5109                                No

PIa-1419    Pro Forma Bates DSI 5110                                No

PIa-1420    Pro For-ma Bates DSI 5111                              No

PIa-1421    Pro Forma Bates DSI 5113                                No

PIa-1422    Pro For-ma Bates DSJ 5115                               No

PIa-1423    Pro Forma Bates DSI 5116                                No

PIa-1424    Pro Forma Bates DSI 5117                                No

PIa-1425    Pro Forma Bates DSI 6433                                No

PIa- 1426   Pro Forma Bates DSI 6434                                No

PIa-1427    Pro Forma Bates DSI 6449                                No

PIa-1428    Pro For-ma Bates 051 6450                               No

PIa-1429    Pro Forma Bates DSI 6453                                No

PIa-1430    Pro For-ma Bates DSI 6454                              No

PIa-1431    Pro Forma Bates DSI 6465                                No

PIa-1432    Pro Forma Bates DSI 6495                               No

PIa-1433    Pro Forma Bates DSI 6497                                No

Pla-1434    Pro Forma Bates DSI 6507                                No

Pla-1435    Pro Forma Bates DSI 6508                                No

Pla-1436    Pro For-ma Bates DSI 6509                               No

PIa-1437    Pro For-ma Bates DSI 6513                               No

Pa-1438     Pro For-ma Bates OSI 6514                               No

Pla-1439    Pro For-ma Bates DSI 6516                               No

Pa-i440     Pro For-ma Bates OSI 6550                              No

Pla-1441    Pro For-ma Bates DSI 6551                               No

Pla-1442    Pro For-ma Bates DSI 6552                               No

PIa-1443    Pro For-ma Bates DSI 6554                               No

PIa-1444    Pro For-ma Bates DSI 6555                               No


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PIa- 1445   Pro Forma Bates DSI 6556                                No

Pla- 1446   Pro Forma Bates DSI 6557                                No

PIa- 1447   Pro Forma Bates DSI 6561                                No

PIa-1448    Pro Forma Bates DSI 6564                                No

PIa- 1449   Pro Forma Bates DSI 6580                                No

PIa- 1450   Pro Forma Bates DSI 6581                                No

PIa- 1451   Pro Forma Bates DSI 6593                                No

PIa-1452    Pro Forma Bates OS! 6594                                No

PIa-1453    Pro Forma Bates DSI 6595                                No

Pta-1454    Pro Forma Bates OS! 6597                                No

PIa-1455    Pro Forma Bates DSI 6598                                No

Pta-1456    Pro Forma Bates OS! 6599                                No

PIa-1457    Pro Forma Bates DSI 6602                                No

P)a-1458    Pro Forma Bates DSI 6603                                No

PIa-1459    Pro Forma Bates DSI 6604                                No

PIa-1460    Pro Forma Bates OS! 6606                                No

PIa-1461    Pro Forma Bates OS! 6607                                No

PIa-1462    Pro Forma Bates OSI 6608                                No

PIa- 1463   Pro Forma Bates DSI 6614                                No

PIa-1464    Pro Forma Bates OS! 6616                                No

PIa- 1465    Pro Forma Bates DSI 6617                               No

PIa-1466    Pro Forma Bates OS! 6620                                No

PIa- 1467    Pro Forma Bates DSI 6621                               No

PIa-1468    Pro Forma Bates DS! 6622                                No

PIa-1469     Pro Forma Bates DSI 6624                               No

PIa-1470     Pro Forma Bates OS! 6625                               No

PIa-1471     Pro Forma Bates DSI 6628                               No

PIa-1472     Pro Forma Bates DSI 6629                               No

PIa-1473     Pro Forma Bates DSI 6631                               No

PIa-1474     Pro Forma Bates OS! 6634                               No

PIa- 1475    Pro Forma Bates DSI 6635                               No

Pla-1476     Pro Forma Bates OS! 6636                               No

PIa- 1477    Pro Forma Bates DSI 6637                               No

PIa-1478    Pro Forma Bates DSI 6638                                No

PIa- 1479    Pro. Forma Bates DSI 6641                              No

PIa-1480     Pro Forma Bates DSI 6642                               No

Pla- 1481    Pro Forma Bates DSI 6643                               No

Pa-1482      Pro Forma Bates DSI 6644                               No

PIa-1483     Pro Forma Bates DSI 6645                               No

PIa-1484     Pro Forma Bates OS! 6647                               No

PIa-1485     Pro Forma Bates DSI 6650                               No

PIa-1486     Pro Forma Bates DSI 6651                               No

PIa- 1487    Pro Forma Bates DSI 6652                               No

Pta-1488     Pro Forrna Bates   05! 6653                            No


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Pta- 1489    Pro Forma Bates DSI 6655                                No

Pta-1490     Pro Forma Bates DSI 6656                                No

PIa- 1491    Pro Forma Bates DSI 6657                                No

Pta-1492     Pro Forrna Bates DSI 6658                               No

PIa- 1493    Pro Forma Bates DSI 6661                                No

Pta- 1494    Pro Forma Bates DSI 6662                                No

PIa- 1495    Pro Forma Bates DSI 6663                                No

PIa-1496     Pro Forma Bates DSI 6664                                No

PIa- 1497    Pro Forma Bates DSI 6668                                No

PIa-1498     Pro Forma Bates 051 6669                                No

PIa-1499     Pro Forma Bates DSI 6678                                No

Pta- 1500    Pro Forma Bates OSI 6681                                No

PIa-1501     Pro Forma Bates DSI 6683                                No

PIa-1502     Pro Forma Bates DSI 6877                                No

PIa-1503     Pro Forma Bates DSI 6882                                No

PIa-1504     Pro Forma Bates DSI 6888                                No

PIa-1505     Pro Forma Bates DSI 6890                                No

Pta-1506     Pro Forma Bates DSI 6892                                No

PIa-1507     Pro Forma Bates DSI 6928                                No

PIa-1509     Pro Forma Bates OSI 6931                                No

PIa-1510     Pro Forma Bates DSI 6933                                No

Pta-1511     Pro Forma Bates 051 6935                                No

Pta- 1512    Pro Forma Bates DSI 6936                                No

PIa-1513     Pro Forma Bates DSI 6951                                No

PIa1514      Pro Forma Bates DSI 6952                                No

Pia-1515     Pro Forma Bates DSI 6954                                No

PIa-1516     Pro Forma Bates DSI 6956                                No

Pta-1517     Pro Forma Bates DSI 6957                                No

Pta- 1518    Pro Forma Bates DSI 6958                                No

Pta-1519     Pro Forma Bates DSI 6972                                No

Pla- 1520    Pro Forma Bates DSI 6973                                No

PIa-1521     Pro Forma Bates DSI 6974                                No

Pta- 1522    Pro Forma Bates DSI 6975                                No

PIa-1523     Pro Forma Bates DSI 6980                                No

PIa- 1524    Pro Forma Bates DSI 6987                                No

Pta-1525     Pro Forma Bates DSI 6989                                No

P1a   1526   Pro Forma Bates DSI 6991                                No

Pta-1527     Pro Forma Bates DSI 6992                                No

PIa-1528     Pro Forma Bates DSI 6994                                No

PJa-1529     Pro Forrna Bates DSI 6995                               No

PIa-1530     Pro Forma Bates DSI 7001                                No

Pta-1531     Pro Forma Bates DSI 7003                                No

PIa-1532     Pro Forma Bates DSI 7005                                No

PIa-1533     Pro Forma Bates OSI 7007                                No


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           I          S                                                      I   'I   I



PIa-1534   Pro Forma Bates DSI 7009                                No

Pa-1535    Pro Forma Bates PSI 7011                                No

PIa-1536   Pro Forma Bates DSI 7013                                No

PIa-1537   Pro Forma Bates DSI 7014                                No

PIa-1538   Pro Forma Bates DSI 7015                                No

PIa-1539   Pro Forrna Bates PSI 7017                               No

PIa-1540   Pro Forma Bates DSI 7018                                No

PIa-1541   Pro Forma Bates PSI 7020                                No

PIa-1542   Pro Forma Bates DSI 7021                                No

PIa-1543   Pro Forma Bates DSI 7022                                No

PIa-1544   Pro Forma Bates PSI 7024                                No

PIa-1545   Pro Forma Bates PSI 7026                                No

Pla-1546   Pro Forma Bates DSI 7027                                No

PIa-1547   Pro Forma Bates DSI 7029                                No

PIa-1548   Pro Forma Bates DSI 7030                                No

Pta-1549   Pro Forma Bates PSI 7031                                No

PIa-1550   Pro Forma Bates DSI 7033                                No

P1a4551    Pro Forma Bates PSI 7034                                No

PIa-1552   Pro Forma Bates PSI 7036                                No

PIa-1553   Pro Forma Bates PSI 7038                                No

PIa-1554   Pro Forma Bates DSI 7039                                No

PIa-1555   Pro Forma Bates PSI 7040                                No

PIa-1556   Pro Forma Bates DSI 7041                                No

PIa-1557   Pro Forma Bates PSI 7042                                No

PIa-1558   Pro Forma Bates DSI 7044                                No

PIa-1559   Pro Forma Bates PSI 7046                                No

PIa-1560   Pro Forma Bates PSI 7048                                No

PIa-1561   Pro Forma Bates PSI 7049                                No

PIa-1562   Pro Forma Bates PSI 7050                                No

PIa-1563   Pro Forma Bates DSI 7051                                No

PIa-1564    Pro Forma Bates DSI 7053                               No

PIa-1565   Pro Forma Bates DSI 7054                                No

Pla-1566    Pro Forma Bates DSI 7055                               No

PIa1567    Pro Forma Bates PSI 7056                                No

Pta-1568    Pro Forma Bates PSI 7058                               No

PIa-1569   Pro Forma Bates PSI 7091                                No

PIa-1570    Pro Forma Bates DSI 7092                               No

Pta-1571    Pro Forma Bates PSI 7093                               No

PIa-1572    Pro Forma Bates DSI 7094                               No

PIa-1573   Pro Forma Bates PSI 7098                                No

PIa-1574    Pro Forma Bates DSI 7100                               No

PIa-1575    Pro Forma Bates DSI 7103                               No

PIa-1576    Pro Forma Bates PSI 7118                               No

PIa-157    Pro Forma Bates PSI 7119                                No


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                      I                                                  I    I   I   I


Pla- 1578   Pro Forma Bates DSI 7120                                No

Pta-i 579   Pro Forma Bates DSI 7121                                No

Pia-1580    Pro Forma Bates DSI 7134                                No

Pla-1581    Pro Forma Bates DSI 7135                                No

Pla- 1582   Pro Forma Bates DSI 7136                                No

Pia-1583    Pro Forma Bates DSI 7137                                No

Pla- 1584   Pro Forma Bates DSI 7213                                No

Pia-1585    Pro Forma Bates DSI 7214                                No

Pla- 1586   Pro Forma Bates DSI 7215                                No

Pia-1587    Pro Forma Bates DSI 7216                                No

PIa- 1588   Pro Forma Bates DSI 7217                                No

Pla-1589    Pro Forma Bates DSI 7218                                No

Pia-1590    Pro Forma Bates DSI 7219                                No

Pia-1591    Pro Forma Bates DSI 7220                                No

Pla-1592    Pro Forma Bates DSI 7222                                No

Pla-1593    Pro Forma Bates OSI 7223                                No

Pla- 1594   Pro Forma Bates OSI 7224                                No

Pia-1595    Pro Forma Bates DSI 7225                                No

Pla- 1596   Pro Forma Bates DSI 7226                                No

Pia-1597    Pro Forma Bates DSI 7227                                No

Pla-1598    Pro Forma Bates DSI 7228                                No

Pia-1599    Pro Forma Bates DSI 7229                                No

Pia-1600    Pro Forma Bates DSI 7321                                No

P10-1601    Pro Forma Bates D$I 7323                                No

Pla-1602    Pro Forma Bates DSI 7325                                No

Pla-1603    Pro Forma Bates DSI 7343                                No

Pla-i604    Pro Forma Bates DSI 7345                                No

Pla-1605    Pro Forma Bates DSI 7347                                No

Pla-1606    Pro Forma Bates DSI 7349                                No

PIa-1607    Pro Forma Bates DSI 7351                                No

Pia-1608    Pro Forma Bates DSI 7353                                No

Pia-1609    Factory Invoice Bates DSI 1758                          No

PIa-i610    Factory Invoice Bates DSI 1878                          No

Pla-1611    Factory Invoice Bates DSI 1889                          No

Pia-1612    Factory Invoice Bates DSI 1892                          No

Pie- 1613   Factory Invoice Bates DSI 1900                          No

PIa-1614    Factory Invoice Bates DSI 1914                          No

Pla-1615    Factory Invoice Bates OSI 1921                          No

PIa-1616    Factory Invoice Bates DSI 1922                          No

Pla-1617    Factory Invoice Bates DSI 1923                          No

PIa-1618    Factory Invoice Bates DSI 1924                          No

Pia-1619    Factory Invoice Bates OSI 1925                          No

PIa-1620    Factory Invoice Bates DSI 1933                          No

     621    Factory Invoice Bates OSI 1934                          No


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           I          I                                                 I    I   l


PIa-1622   Factory Irwoice Bates DSI 1935                          No

Pla-1623   Factory Invoice Bates DSI 1937                          No

PIa-1624   Factory Invoice Bates DSI 1938                          No

PIa-1625   Factory Invoice Bates DSI 1939                          No

PIa-1626   Factory Invoice Bates DSI 1940                          No

Pla-1627   Factory Invoice Bates OSI 1941                          No

Pla-1628   Factory Invoice Bates DSI 1942                          No

PIa-1629   Factory Invoice Bates DSI 1943                         No

PIa-1630   Factory Invoice Bates DSI 2013                          No

PIa-1631   Factory Invoice Bates DSI 2014                         No

PIa-1632   Factory Invoice Bates DSI 2015                          No

PIa-1633   Factory Invoice Bates DSI 2016                          No

PIa-1634   Factory Invoice Bates DSI 2199                          No

P1a4635    Factory Invoice Bates DSI 2210                          No

Pla-1636   Factory Invoice Bates DSI 2236                          No

Pla-1637   Factory Invoice Bates OSI 2255                          No

Pla-1638   Factory Invoice Bates DSI 2268                          No

P10-1639   Factory Invoice Bates DSI 2269                          No

Pla-1640   Factory Invoice Bates DSI 2270                          No

PIa-1641   Factory Invoice Bates IDSI 2271                         No

PIa-1642   Factory Invoice Bates DSI 2274                          No

Pla-1643   Factory Invoice Bates DSI 2277                          No

Pla-1644   Factory Invoice Bates DSI 2279                          No

PIa-1645   Factory Invoice Bates DSI 2283                          No

PIa-1646   Factory Invoice Bates DSI 2284                          No

PIa-1647   Factory Invoice Bates DSI 2286                          No

PIa-1648   Factory Invoice Bates DSI 2289                          No

Pla-1649   Factory invoice Bates DSI 2301                          No

PIa-1650   Factory Invoice Bates DSI 2303                          No

Pta-1651   Factory Invoice Bates DSI 2312                          No

PIa-1652   Factory Invoice Bates DSI 2339                          No

Pla-1653   Factory Invoice Bates DSI 2340                          No

Pla-1654   Factory Invoice Bates DSI 2341                          No

PIa-1655   Factory Invoice Bates 1)51 2342                         No

Pla-1656   Factory Invoice Bates DSI 2347                          No

PIa-1657   Factory Invoice Bates DSI 2382                          No

PIa-1658   Factory Invoice Bates DSI 2389                          No

PIa-1659   Factory Invoice Bates DSI 2390                          No

PIa-1660   Factory Invoice Bates DSI 2391                          No

PIa-1661   Factory Invoice Bates DSI 2392                          No

PIa-1662   Factory Invoice Bates DSI 2396                          No

Pla-1663   Factory Invoice Bates DSI 2397                          No

PIa-1664   Factory Invoice Bates DSI 2452                          No

           Factory Invoice Bates 1)51 2453                         No
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PIa-1666    Factory Invoice Bates DSI 2454                         No

PIa-1667    Factory Invoice Bates OSI 2540                         No

PIa-1668    Factory Invoice Bates DSI 2542                         No

PIa-1669    Factory Invoice Bates OSI 2543                         No

PIa-1670    Factory Invoice Bates DSI 2544                         No

PIa-167].   Factory Invoice Bates DSI 2574                         No

PIa-1672    Factory Invoice Bates DSI 2575                         No

PIa-1673    Factory Invoice Bates DSI 2576                         No

PIa-1674    Factory Invoice Bates DSI 2579                         No

PIa-1675    Factory Invoice Bates OSI 2587                         No

Pla-1676    Factory Invoice Bates DSI 2588                         No

PIa1677     Factory Invoice Bates DSI 2589                         No

PIa-1678    Factory Invoice Bates DSI 2604                          No

Pla-1679    Factory Invoice Bates 051 2619                         No

Pla-1680    Factory Invoice Bates DSI 2620                          No

Pia-1681    Factory Invoice Bates OSI 2625                         No

PIa-1682    Factory Invoice Bates DSI 2626                          No

Pa-i683     Factory Invoice Bates 051 2630                         No

Pla-1684    Factory Invoice Bates DSI 2631                          No

Pta-1685    Factory Invoice Bates DSI 2632                          No

PIa-1686    Factory Invoice Bates DSI 2634                          No

PIa1687     Factory Invoice Bates DSI 2635                          No

Pla-1688    Factory Invoice Bates OSI 2636                          No

Pla-1689    Factory Invoice Bates DSI 2637                          No

PIa-1690    Factory Invoice Bates DSI 2641                          No

PIa-1691    Factory Invoice Bates OSI 2642                          No

PIa-1692    Factory Invoice Bates DSI 2643                          No

PIa-1693    Factory Invoice Bates OSI 2647                         No

PIa-1694    Factory Invoice Bates DSI 2650                          No

PIa-1695    Factory Invoice Bates DSI 2651                          No

Pla-1696    Factory Invoice Bates DSI 2652                          No

PIa-1697    Factory Invoice Bates DSI 2653                          No

PIa-1698    Factory Invoice Bates DSI 2664                          No

PIa-1699    Factory Invoice Bates 051 2665                          No

PIa-1700    Factory Invoice Bates DSI 2666                          No

PIa-1701    Factory Invoice Bates DSI 2670                          No

PIa-1702    Factory Invoice Bates DSI 2671                          No

PIa-1703    Factory Invoice Bates OSI 2672                          No

PIa-1704    Factory Invoice Bates DSI 2673                          No

PIa-1705    Factory Invoice Bates PSI 2693                          No

PIa-1706    Factory Invoice Bates DSI 2694                          No

Pa-1707     Factory Invoice Bates PSI 2695                          No

Pla-1708    Factory Invoice Bates DSI 2700                          No

Pla-1709    Factory Invoice Bates PSI 2701                          No


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           I          S                                                 I    I   I


PIa-1710   Factory Invoice Bates DSI 2706                          No

Pta-1711   Factory Invoice Bates OS! 2707                         No

Pla-1712   Factory Invoice Bates DSI 2718                          No

Pla-1713   Factory Invoice Bates DSI 2720                          No

PLa-1714   Factory Invoice Bates DSI 2721                          No

Pta-1715   Factory Invoice Bates OS! 2724                          No

Pla-1716   Factory Invoice Bates DSI 2727                          No

PIa-1717   Factory Invoice Bates DSI 2728                          No

PIa-1718   Factory Invoice Bates DSI 2731                          No

PIa-1719   Factory Invoice Bates OSI 2732                          No

PIa-1720   Factory Invoice Bates DSI 2736                          No

PIa-lfll   Factory Invoice Bates OSI 2737                          No

PIa-1722   Factory Invoice Bates DSI 2748                          No

PIa-1723   Factory Invoice Bates OS! 2749                          No

PIa-1724   Factory Invoice Bates DSI 2904                          No

PIa-1725   Factory Invoice Bates OS! 2920                          No

PIa-1726   Factory Invoice Bates DSI 3080                          No

Pa-1727    Factory Invoice Bates OS! 3107                          No

Pla-1728   Factory Invoice Bates DSI 3242                          No

PIa-1729   Factory Invoice Bates DSI 3243                          No

PIa-1730   Factory Invoice Bates DSI 3248                          No

PIa-1731   Factory Invoice Bates OS! 3265                          No

PIa-1732   Factory Invoice Bates OSI 3271                          No

Pla-1733   Factory Invoice Bates OS! 3272                          No

Pla-1734   Factory Invoice Bates DSI 3293                          No

PIa-1735   Factory Invoice Bates OS! 3294                          No

PIa-1736   Factory Invoice Bates DSI 3295                          No

PIa-1737   Factory Invoice Bates OSI 3296                          No

PIa-1738   Factory Invoice Bates DSI 3306                          No

PIa-1739   Factory Invoice Bates OSI 3307                          No

Pla-1740   Factory Invoice Bates DSI 3317                          No

PIa-1741   Factory Invoice Bates OS! 3318                          No

PIa-1742   Factory Invoice Bates OSI 3319                          No

Pla-1743   Factory Invoice Bates OS! 3320                          No

PIa-1744   Factory Invoice Bates DSI 3327                          No

Pla-1745   Factory Invoice Bates OS! 3336                          No

PIa-1746   Factory Invoice Bates DSI 3351                          No

Pla-1747   Factory Invoice Bates OS! 3352                          No

PIa-1748   Factory Invoice Bates DSI 3358                          No

Pla-1749   Factory Invoice Bates 051 3361                          No

Pla-1750    Factory Invoice Bates DSI 3372                         No

PIa-1751   Factory Invoice Bates OS! 3373                          No

Pla-1752    Factory Invoice Bates DSI 3374                         No

PIa-1753   Factory Invoice Bates OS! 3375                          No


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Pla-1754     Factory Invoice Bates DSI 3376                         No

PIa-1755     Factory Invoice Bates PSI 3377                         No

PIa-1756     Factory Invoice Bates DSI 3378                         No

PIa-1757     Factory Invoice Bates PSI 3379                         No

PIa-1758     Factory Invoice Bates DSI 3380                         No

PIa-1759    Factory Invoice Bates PSI 3381                          No

PIa-1760     Factory Invoice Bates PSI 3382                         No

PIa-1761     Factory Invoice Bates PSI 3395                         No

PIa-1762     Factory Invoice Bates DSI 3396                         No

PIa-1763    Factory Invoice Bates PSI 3397                          No

Pla-1764     Factory Invoice Bates DSI 3398                         No

PIa-1765     Factory Invoice Bates PSI 3399                         No

Pla-1766     Factory Invoice Bates DSI 3407                         No

PIa-1767     Factory Invoice Bates PSI 3408                         No

PIa-1768     Factory Invoice Bates PSI 3409                         No

PIa-1769     Factory Invoice Bates PSI 3410                         No

PIa-1770     Factory Invoice Bates PSI 3411                         No

Pta-1771.    Factory Invoice Bates PSI 3412                         No

PIa-1772     Factory Invoice Bates PSI 3413                         No

PIa-1773     Factory Invoice Bates PSI 3414                         No

Pla-1774     Factory Invoice Bates PSI 3415                         No

Pla-1775     Factory Invoice Bates PSI 3416                         No

PIa-1776     Factory Invoice Bates DSI 3417                         No

PIa-1777     Factory Invoice Bates PSI 3418                         No

Pla-1778     Factory Invoice Bates DSI 3419                         No

Pl-1779      Factory Invoice Bates PSI 3420                         No

Pla-1780     Factory Invoice Bates DSI 3421                         No

Pta-1781    Factory Invoice Bates PSI 3422                          No

Pla-1782     Factory Invoice Bates PSI 3423                         No

Pla-1783    Factory Invoice Bates PSI 3424                          No

Pla-1784     Factory Invoice Bates DSI 3430                         No

PIa-1785    Factory Invoice Bates PSI 3433                          No.

Pla-1786     Factory Invoice Bates PSI 3434                         No

Pla-1787    Factory Invoice Bates PSI 3462                          No

Pla-1788     Factory Invoice Bates DSI 3463                         No

Pta-17$9     Factory Invoice Bates PSI 3464                         No

PIa-1790     Factory Invoice Bates DSI 3465                         No

PIa-1791    Factory Invoice Bates PSI 3466                          No

PIa-1792     Factory Invoice Bates PSI 3467                         No

PIa-1793    Factory Invoice Bates PSI 3484                          No

PIa-1794     Factory Invoice Bates DSI 3485                         No

Pta-1795    Factory Invoice Bates PSI 3505                          No

PIa-1796     Factory Invoice Bates DSI 3522                         No

PIa-1797    Factory Invoice Bates PSI 3523                          No


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Pla- 1798   Factory Invoice Bates DSI 3524                          No

Pla-1799    Factory Invoice Bates 051 3529                          No

Pla-1800    Factory Invoice Bates DSI 3530                          No

PIa-1801    Factory Invoice Bates DSI 546                           No

PIa- 1802   Factory Invoice Bates OSI 3552                          No

PIa-1803    Factory Invoice Bates OSI 3557                          No

PIa- 1804   Factory Invoice Bates DSI 3559                          No

PIa-1805    Factory Invoice Bates DSI 3572                          No

Pla- 1806   Factory Invoice Bates DSI 3573                          No

PIa-1807    Factory Invoice Bates DSI 3576                          No

Pla- 1808   Factory Invoice Bates DSI 3591                          No

PIa-1809    Factory Invoice Bates DSI 3592                          No

Pla-1810    Factory Invoice Bates DSI 3595                          No

PIa-1811    Factory Invoice Bates OSI 3598                          No

Pla-1812    Factory Invoice Bates DSI 3606                          No

Pla-1813    Factory Invoice Bates 051 3607                          No

Pla-1814    Factory Invoice Bates DSI 3608                          No

Pie- 1815   Factory Invoice Bates OSI 3614                          No

PIa- 1816   Factory Invoice Bates DSI 3620                          No

Pla-1817    Factory Invoice Bates DSI 3626                          No

PIa- 1818   Factory Invoice Bates DSI 3627                          No

Pta-1819    Factory Invoice Bates 051 3631                          No

Pla-1820    Factory Invoice Bates DSI 3633                          No

PIa-1821    Factory Invoice Bates OSI 3635                          No

Pla-1822    Factory Invoice Bates 051 3640                          No

PIa-1823    Factory Invoice Bates DSI 3641                          No

PIa- 1824   Factory Invoice Bates DSI 3643                          No

PIa-1825    Factory Invoice Bates OSI 3650                          No

Pla- 1826   Factory Invoice Bates DSI 3653                          No

Pla-1827    Factory Invoice Bates DSI 3656                          No

PIa- 1828    Factory Invoice Bates DSI 3659                         No

Pta-1829    Factory Invoice Bates DSI 3670                          No

Pla-1831     Factory Invoice Bates DSI 3681                         No

PIa-1832     Factory Invoice Bates OSI 3683                         No

PIa-1833     Factory Invoice Bates DSI 3691                         No

PIa-1834    Factory Invoice Bates DSI 3693                          No

PIa- 1835    Factory Invoice Bates DSI 3695                         No

PIa-1836     Factory Invoice Bates DSI 3696                         No

Pla- 1837    Factory Invoice Bates DSI 3706                         No

Pta-1838     Factory Invoice Bates DSI 3714                         No

PIa-1839     Factory Invoice Bates DSI 3715                         No

PIa-1840     Factory Invoice Bates OSI 3716                         No

PIa-1841     Factory Invoice Bates DSI 3718                         No

PIa-1842     Factory Invoice Bates OSI 3719                         No




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           Case 1:18-cv-00978-RP Document 275 Filed 10/27/21 Page 50 of 62

           p         S                                                  p    I   I
PIa-1843   Factory Invoice Bates DSI 3734                         No

PIa-1844   Factory Invoice Bates DSI 3737                         No

PIa-1845   Factory Invoice Bates DSI 3743                         No

PIa-1846   Factory Invoice Bates OSI 3744                         No

PIa-1847   Factory Invoice Bates DSI 3749                         No

PIa-1848   Factory Invoice Bates OSI 3750                         No

PIa-1849   Factory Invoice Bates DSI 3752                         No

Pla-1850   Factory Invoice Bate DSI 3753                          No

Pla-1851   Factory Invoice Bates DSI 3757                         No

Pla-1852   Factory Invoice Bates DSI 3761                         No

PIa-1853   Factory Invoice Bates DSI 3762                         No

PIa-1854   Factory Invoice Bates 051 3763                         No

PIa-1855   Factory Invoice Bates DSI 3778                         No

PIa-1856   Factory Invoice Bates OS! 3779                         No

PIa-1857   Factory Irwoice Bates DSI 3780                         No

PIa-1858   Factory Invoice Bates OSI 3781                         No

PIa-1859   Factory Invoice Bates DSI 3782                         No

Pla-1860   Factory Invoice Bates OS! 3794                         No

PIa-1861   Factory Invoice Bates DSI 3795                         No

PIa-1862   Factory Invoice Bates DSI 3796                         No

PIa-1863   Factory Invoice Bates DSI 3797                         No

PIa-1864   Factory Invoice Bates DSI 3798                         No

PIa-1865   Factory Invoice Bates DSI 3808                         No

Pla-1866   Factory Invoice Bates 051 3809                         No

PIa-1867   Factory Invoice Bates DSI 3810                         No

Rta-1868   Factory Invoice Bates DSI 3811                         No

PIa-1869   Factory Invoice Bates DSI 3817                          No

PIa-1870   Factory Invoice Bates 051 3818                         No

PIa-1871   Factory Invoice Bates DSI 3824                         No

Pla-1872   Factory Invoice Bates DSI 3825                         No

Pla-1873   Factory Invoice Bates DSI 3827                          No

PIa-1874   Factory Invoice Bates DSI 3829                         No

PIa-1875   Factory Invoice Bates DSI 3830                          No

Pla1876    Factory Invoice Bates OSI 3831                         No

PIa-1877   Factory Invoice Bates DSI 3843                          No

PIa-1878   Factory Invoice Bates DSI 3844                         No

Pla-1879   Factory Invoice Bates DSI 3845                          No

Pla-1880   Factory Invoice Bates DSI 3849                          No

PIa-1881   Factory Invoice Bates DSI 3851                          No

PIa-1882   Factory Invoice Bates DSI 3865                         No
PIa-1883   Factory Invoice Bates DSI 3866                          No

PIa-1884   Factory Invoice Bates DSI 3867                          No

PIa-1885   Factory Invoice Bates DSI 3868                          No

           Factory Invoice Bates DSI 3869                         No


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            Case 1:18-cv-00978-RP Document 275 Filed 10/27/21 Page 51 of 62
             I         S                                                 I    I   'I   I


Pla-1887    Factory Invoice Bates DSI 3870                          No

Pla- 1888   Factory Invoice Bates OS! 3872                          No

Pla-1889    Factory Invoice Bates DSI 3873                          No

PIa-1890    Factory Invoice Bates OSI 3874                          No

Pla-1891    Factory Invoice Bates DSI 3882                          No

PIa-1892    Factory Invoice Bates OS! 3888                          No

Pla-1893    Factory Invoice Bates DSI 3889                          No

PIa-1894    Factory Invoice Bates IDSI 3895                         No

PIa-1895    Factory Invoice Bates OSI 3896                          No

Pla-1896    Factory Invoice Bates OS! 3902                          No

PIa-1897    Factory Invoice Bates DSI 3903                          No

Pla-1898    Factory Invoice Bates DSI 3905                          No

Pla-1899    Factory Invoice Bates DSI 3906                          No

PIa-1900    Factory Invoice Bates OSI 3907                          No

Pla-1901    Factory Invoice Bates OSI 3914                          No

Pla-1902    Factory Invoice Bates OS! 3916                          No

Pla-1903    Factory Invoice Bates OS! 3917                          No

Pta-1904    Factory Invoice Bates OS! 3918                          No

Pla-1905    Factory Invoice Bates DSI 3920                          No

Pla-1906    Factory Invoice Bates OS! 3921                          No

Pla-1907    Factory Invoice Bates DSI 3922                          No

PIa-1908    Factory Invoice Bates OS! 3923                          No

PIa-1909    Factory Invoice Bates DSI 3931                          No

Pla-1910    Factory Invoice Bates DSI 3932                          No

Pla-1911    Factory Invoice Bates OS! 3933                          No

PIa-1912    Factory Invoice Bates OSI 3934                          No

PIa-1913    Factory Invoice Bates DSI 3936                          No

Pta- 1914   Factory Invoice Bates OSI 3937                          No

Pla-1915    Factory Invoice Bates 051 3938                          No

Pta-1916    Factory Invoice Bates OS! 3958                          No

Pla-1917    Factory Invoice Bates DSI 3959                          No

Pta-1918    Factory Invoice Bates OS! 3960                          No

Pla-1919    Factory Invoice Bates DSI 3966                          No

PIa-1920    Factory Invoice Bates DSI 3967                          No

Pla-1921    Factory Invoice Bates OS! 3973                          No

Pta-1922    Factory Invoice Bates DSI 3974
Pla-1923    Factory Invoice Bates DSI 3983                          No

PIa-1924    Factory Invoice Bates OS! 3986                          No

Pla-1925    Factory Invoice Bates OSI 3998                          No

Pla-1926    Factory Invoice Bates OS! 3999                          No

PIa-1927    Factory Invoice Bates DSI 4000                          No

Pta- 1928   Factory !nvoice Bates OS! 4002                          No

PIa-1929    Factory Invoice Bates DSI 4004                          No

PIa-1930    Factory Invoice Bates OS! 4005                          No


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            Case 1:18-cv-00978-RP Document 275 Filed 10/27/21 Page 52 of 62
            I         S                                                  I        I   I
PIa-1931    Factory Invoice Bates PSI 4011                         No

Pla-1932    Factory Invoice Bates PSI 4012                         No

PIa-1933    Factory Invoice Bates DSI 4014                         No

Pla-1934    Factory Invoice Bates PSI 4016                         No

Pla-1935    Factory Invoice Bates DSI 4017                         No

PIa-1936    Factory Invoice Bates PSI 4019                         No

Pla-1937    Factory Invoice Bates DSI 4020                         No

PIa-1938    Factory Invoice Bates DSI 4021                         No

PIa-1939    Factory Invoice Bates PSI 4029                         No

PIa-1940    Factory Invoice Bates PSI 4030                         No

PIa-1941    Factory Invoice Bates PSI 4031                          No

Pla1942     Factory Invoice Bates PSI 4033                          No

PIa-1943    Factory Invoice Bates PSI 4034                          No

Pta-1944    3d Party MOBU Usage Bates Haas 5014                     No   10/25/2021
                                                                         10:25 AM
PIa-1945    3d Party MOBU Usage Bates Haas 5018                     No

Pta-1946    3d Party MOBU Usage Bates Haas 5021                     No   10/25/2021
                                                                         10:25 AM
Pla-1947    3d Party MOBU Usage Bates Haas 5023                     No   10/25/2021
                                                                         10:26 AM

PIa- 1948   3d Party MOBU Usage Bates Haas 5026                     No

PIa-1949    3d Party MOBU Usage Bates Raas 5028                     No

PIa-1950    3d Party MOBU Usage Bates Haas 5030                     No   10/25/2021
                                                                         10:27 AM
PIa-1951    3d Party MOBU Usage Bates Haas 5033                     No   10/25/2021
                                                                         10:28 AM

Pla-1952    3d Party MOBU Usage Bates Haas 5034                     No

PIa-1953    3d Party MOBU Usage Bates Haas 5035                     No

Pa-1954     3d Party MOBU Usage Bates Haas 5036                     No

PIa-1955    3d Party MOBU Usage Bates Haas 5037                     No

PJa-1956    3d Party MOBU Usage Bates Haas 5040                     No

PIa-1957    3d Party MOBU Usage Bates F-laas 5045                   No   10/26/2021   10/26/2021
                                                                         3:30 PM      3:30 PM
PIa-1958    3d Party MOBU Usage Bates Haas 5047                     No   10/26/2021   10/26/2021
                                                                         3:30PM       3:30PM
PIa-1959    3d Party MOBU Usage Bates Haas 5051                     No

PIa-1960    3d Party MOBU Usage Bates Haas 5053                     No

Pla-1961    3d Party MOBU Usage Bates Haas 5073                     No

PIa-1962    3d Party MOBU Usage Bates Haas 5078                     No

Pla-1963    3d Party MOBU Usage Bates Haas 5084                     No

PIa-1964    3d Party MOBU Usage Bates Haas 5085                     No

PIa-1965    3d Party MOBU Usage Bates Haas 5090                     No

PIa-1966    3d Party MOBU Usage Bates Haas 5091                     No

PIa-1967    3d Party MOBU Usage Bates Haas 5094                     No

PIa-1968    3d Party MOBU Usage Bates Haas 5118                     No

Pla-1969    3d Party MOBU Usage Bates Haas 5125                     No

PIa-1970    3d Party MOBU Usage Bates Haas 5133                     No


                                                    52
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                     S                                                   I          I   I
PIa-1971   3d Party MOBU Usage Bates Naas 5139                     No   10/26/2021      10/26/2021
                                                                        3:32 PM         3:32 PM
Pla-1972   3d Party MOBU Usage Bates Haas 5141                    No    10/26/2021      10/26/2021
                                                                        3:32PM          3:33PM
PIa-1973   3d Party MOBU Usage Bates Haas 5143                     No

Pla-1974   3d Party MOBU Usage Bates Haas 5148                    No

PIa-1975   3d Party MOBU Usage Bates Haas 5153                     No   10/26/2021      10/26/2021
                                                                        3:34 PM         3:36 PM
Pa-1976    3d Party MOBU Usage Bates Haas 5155                     No

PIa-1977   3d Party MOBU Usage Bates Haas 5157                     No

PIa-1978   3d Party MOBU Usage Bates Haas 5158                     No

PIa-1979   3d Party MOBU Usage Bates Haas 5177                     No

Pta-1980   3d Party MOBU Usage Bates Haas 5180                     No

Pla-1981   3d Party MOBU Usage Bates Haas 5182                     No

Pta-1982   3d Party MOBU Usage Bates Haas 5189                    No

PIa-1983   3d Party MOBU Usage Bates Haas 5191                     No   10/26/2021      10/26/2021
                                                                        3:37 PM         3:37 PM
Pla-1984   3d Party MOBU Usage Bates t-taas 5195                  No

PIa-1985   3d Party MOBU Usage Bates Haas 5207                     No

PIa-1986   3d Party MOBU Usage Bates Haas 5210                     No

PIa-1987   3d Party MOBU Usage Bates Haas 5212                     No

PIa-1988   3d Party MOBU Usage Bates Haas 5215                     No   10/26/2021      10/26/2021
                                                                        3:37   PM       3:37 PM
PIa-1989   3d Party MOBU Usage Bates Haas 5218                     No

PIa-1990   3d Party MOBU Usage Bates Haas 5224                     No

PIa-1991   3d Party MOBU Usage Bates Haas 5228                     No

PIa-1992   3d Party MOBU Usage Bates Haas 5233                     No

PIa-1993   3d Party MOBU Usage Bates I-Iaas 5237                   No

PIa-1994   3d Party MOBU Usage Bates Haas 5239                     No

PIa-1995   3d Party MOBU Usage Bates Haas 5243                     No

PIa-1996   3d Party MOBU Usage Bates Haas 5246                     No   10/27/2021      10/27/2021
                                                                        9:51AM          9:51AM
PIa-1997   3d Party MOBU Usage Bates Haas 5252                     No

PIa-1998   3d Party MOBU Usage Bates Haas 5262                     No

PIa-1999   3d Party MOBU Usage Bates Haas 5272                     No

PIa-2000   3d Party MOBU Usage Bates Haas 5276                     No

PIa-2001   3d Party MOBU Usage Bates Haas 5280                     No

PIa-2002   3d Party MOBU Usage Bates Haas 5288                     No

PIa-2003   3d Party MOBU Usage Bates Haas 5292                     No

PIa-2004   3d Party MOBU Usage Bates Haas 5296                     No   10/27/2021      10/27/2021
                                                                        9:51AM          9:51AM
PIa-2005   3d Party MOBU Usage Bates Haas 5333                     No

PIa-2006   3d Party MOBU Usage Bates Haas 5334                     No

Pla-2007   3d Party MOBU Usage Bates Haas 5335                     No

PIa-2008   3d Party MOBU Usage Bates Haas 5336                     No

PIa-2009   3d Party MOBU Usage Bates Haas 5338                     No   10/27/2021      10/27/2021
                                                                        9:52AM          9:52AM


                                                   53
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           I            S                                                                         I         I   'I      I


Pla-2010   3d Party MOBU Usage Bates Haas 5340                                               No

Pla-2011   3d Party MOBU Usage Bates F-laas 5342                                             No

Pla-2012   3d Party MOBU Usage Bates Haas 5346                                               No

Pla-2013   3d Party MOBU Usage Bates Haas 5349                                               No

Pla-2014   3d Party MOBU Usage Bates Haas 5352                                               N

Pla-2015   3d Party MOBU Usage Bates Haas 5356                                               No

Pla-2016   Browning Sched A                                                                  No

Pla-2017   Browning Sched A                                                                  No

Pla-2018   Truck Shields Sched A                                                             No

PIa-2019   SPG Sched A                                                                       No

Pla-2020   Truck Shields Sched A                                                             No

Pla-2021   Norcross Sales Report                                                             No

Pla-2022   Email from Jim Donahue to Peipel                                                  No   10/26/2021    10/26/2021
                                                                                                  12:00AM       12:00AM
Def-001    Email from C. Hahn to S. Roed dated 4.20.18                                       No

Def-002    Photo of Boot dated 4.2.18                                                        No

Def-003    Email Chain Between C. Hahn and J. Srednicki dated 3.12.18                        No

Def-004    Email Chain Between C Hahn,). Srednicki, and         .1.   Donahue dated 3.5.18   No

Def-005    Email Chain Between C. Hahn, J. Srednicki, arid 3. Donohue dated 5.16.18          No

Def-006    Email from C. Hahn      to).   Srednicki dated 2.2.3.18                           No

Def-007    Email between C. Hahn, 3. Srednicki,       and). Doriohue dated 2.5.18            No

Def-008    Email between). Donahue, C. Hahn, and 3. Srednicki dated 8.21.17                  No   10/26/2021    10/26/2021
                                                                                                  12:11PM       12:34PM
Def-009    Email between 3. Donohue, 3. Srednicki, and C. Hahn dated 10.22.17                No   10/26/2021    10/26/2021
                                                                                                  11:35AM       11:36AM
Def-OlO    Email between). Donohue,3. Srednicki, and C. Hahn dated 11.2.17                   No   10/27/2021    10/27/2021
                                                                                                  11:31 AM      11:31 AM
Def-011    Dryshod Catalog                                                                   No   10/27/2021    10/27/2021
                                                                                                  12:13 PM      12:13 PM
Def-012     Phone Photograph    of)       Donohue's Backyard                                 No

Def-013    2002 Successful Hunter Magazine Article printed 9.15.19                           No

Def-014    Mossy Oak Graphics About Our Patterns printout dated 9.7 19                       No

Def-015    Civilian and Military Camouflage Patterns                                         No

Def-016    Trebark Letter to Toxey Haas dated 7.17.86                                        No

Def-017    Defining Disruptive Coloration Review dated 11.6.08                               No

Def-018    Demand Letter    to).   Donohue from Plaintiff dated 1.10.18                      No   10/25/2021    10/25/2021
                                                                                                  12:16PM       12:16PM
Def-019    Email from M. Moore to     3.   Donohue dated 7.6.17                              No   10/26/2021    10/26/2021
                                                                                                  1:04PM        1:04PM
Def-020    Email between). Donohue and T. Myers dated 4.18. 17                               No

Def-021    Email between 3. Donohue and Plaintiff's counsel dated 1.13.18                    No   10/26/2021    10/26/2021
                                                                                                  2:09 PM       2:12 PM
Def-022    Email between 3. Donahue, C. Paradise, and 1. Myers dated 4 17 17                 No   10/27/202 1   10/26/2021
                                                                                                  8.45 AM       12:00 AM
Def-023    Email between 3. Donohue and Plaintiff's counsel dated 1.14.18                    No   10/26/2021    10/26/2021
                                                                                                  2:13PM        12:00AM
Def-024    Email   from). Donohue to Plaintiff's counsel dated 1.10.18                       No   10/26/2021    10/26/2021
                                                                                                  2:06 PM       2:06 PM
Def-025    Email from J. Srednicki to CFD staff dated 4.5.18                                 No

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          I            S                                                                          I        I   I       P



Def-026   Email   from). Donohue to      Peipei dated 6.9.17                                No

Def-027   Emails between 3. Donohue and T. Myers dated 6.27.17                              No    10/26/2021   10/26/2021
                                                                                                  12:02 PM     12:02 PM

Def-028   True Timber License Application dated 11.20.18                                    No

Def-029   Email from   3.   Donohue to True Timber dated 6.9.17                             No    10/26/2021   10/26/2021
                                                                                                  12:21 PM     12:21 PM

Def-030   Emails between). Danohue and 1. Myers dated 12. 19.17                             No    10/26/2021   10/26/2021
                                                                                                  12:38 PM     12:38 PM

Def-031   Emails between). Donohue, M. Donohue, and Peipei dated 8.21.17                    No

Def-032   Email   from). Donahue to 3. Donohue dated 6.10.17                                No

Def-033   iPhone photograph attachment to email dated 6.10.17                               No

Def-034   Email between). Donahue and T. Myers dated 4.18. 17                               No    10/26/2021   10/26/2021
                                                                                                  11:59AM      12:01PM

Def-035   Email between 3. Donohue and Peipei dated 6.12.17                                 No

Def-036   Email between 3. Donohue and Peipei dated 10.13.17                                NO

Def-037   Email between 3. Donohue and T. Hewett dated 1.17.18                              No

Def-038   Email between 3. Donohue and Peipei dated 6.2.17                                  No

Def-039   Interview with Toxey Haas dated 1.26.13                                           No

Def-040   Email between). Donahue and            3.   Sredntckl dated 9.15.17               No

Def-041   Email between). Donohue and Peipei dated 7.21.17                                  No

Def-042   Email between). Donahue and Peipe, dated 7.7.17                                   No

Def-043   Email between J. Donahue and Peipei dated 6.17.17                                 No

Def-044   Email between). Donahue and Peipei dated 6. 17. 17                                No

Def-045   Email between 3. Donahue and Peipel dated 6.14. 17                                No

Def-046   Email between). Donohue, C. Hahn,              and). Srednickl dated 6.12.17      No

Def-047   Email between Peipei and 3. Donahue dated 6.1.17                                  No

Def-048   iPhone Photograph attached to email dated 6.1.17                                  Mo

Def-049   Emails between Peipei       and). Donohue dated 5.20. 17                          Na

Def050    Emails between M. Donohue and). Xian dated 6.9.19                                 No

Def-051   Emails between J. Donohue and Peipei dated 8.6.17                                 No

Def-052   Emails between 3. Donohue and M Moore dated 8.2 17                                No    10/26/2021   10/26/2021
                                                                                                  12:39PM      1239PM
Def-053   Emails between 3. Donahue and Peipei dated 6.28. 17                               Na

Def054    Emails between). Donahue and Peipei dated 6.6.17                                  No

Def-055   Emails between Peipei and 3. Donahue dated 5.20.17                                No.

Def-056   Emails between). Donohue and S. X,an dated 3.4.18                                 No

Def-057   Emails between      3.   Donahue and Peipei dated 11.2.17                         Na

Def-058   Emails between). Donohue and Peipet dated 8.7.17                                  Na

Def-059    Emails between 3. Donahue, C. Hahn, and 3. Srednicki dated 5.15.18               Na    10/27/2021   10/27/2021
                                                                                                  11:36AM      11:36AM

Def-060    Emails between). Donohue and Peipe, dated 9.9.17                                 No

Def-061    Emails between J.Danohue and S. Hewett dated 5.20.17                             No

Def-062    Emails between). Donahue and Peipei dated 8.7.17                                 No

Def-063    Emails between 3. Donahue and Peipei dated 6.1.17                                No

Def-064    Emails between). Donahue an S. Hewett dated 5. 17.17                             Na

Def-065    Emails between 3. Donahue,       3.   Srednicki, and   C. Hahn   dated 5.31.17   Na    10/26/2021   10/26/2021
                                                                                                  12:44PM      12:44PM


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                       S                                                                       I        I    I



Def066    Emails from M. Donohue     to).      Srednicki and CHahn dated 3.15.18          No

Def-067   Emails between M. Donohue and 3. Donohue dated 3.14.18                          No   10/27/2021   10/27/2021
                                                                                               1:35PM       1:35PM

Def-068   List of New Names for Camo Boots dated 3.16.18                                  No   10/27/2021   10/27/2021
                                                                                               1:35PM       1:35PM
Def-069   _List of New Names for Camo Boots dated 3.16.18                                 No   10/27/2021   10/27/2021
                                                                                               1:35 PM      1:35 PM

Def-070   Email from S. Hewett    to).    Donahue dated 5.24.17                           No

Def-071   Photo of Painting dated 5.24.17                                                 No

Def-072   Email from S. Hewett    to).    Donohue dated 5.22.17                           No

Def-073   Photo of Leaves and Bark dated 5.22.17                                          No

Def-074   Email from). Donahue to S Hewett dated 5.24.17                                  No

Def-075   Email from S. Hewett to 3. Donohue dated 6.1.17                                 No

Def-076   Email from). Donahue to S. Hewett dated 5.18.17                                 No

Def-077   Emails between). Donohue, 3. Srednicki, and C. Hahn dated 10.22.17              No

Def-078   Emails between). Donahue and True Timber dated 1.2.19                           No

Def-079   True Timber License Agreement dated 1.8.19                                      No

Def-080   Emails between). Donahue and Peipei dated 3.23.18                               No

Def-081   Email from S. Hewett to 3. Donohue dated 6.6.17                                 No

Def-082   Photograph of Painting dated 6.6.17                                             No

Def-083   Email from S. Hewett to 3. Donohue dated 6.1.17                                 No

Def-084   Emails between S. Hewett        and). Donohue dated 5.23.17                     No

Def-085   Email from S. Hewett to 3. Donohue dated 5.23.17                                No

Def-086   AWL Invoice far Removing MOBU dated 3.31.18                                     No   10/27/2021   10/27/2021
                                                                                               1.35 PM      2:58PM
Def-087   3.   Donohue Check to S. Hewett for Painting dated 6.1.17                       No   10/27/2021   10/27/2021
                                                                                               1:10PM       1:10PM

Def-088   Invoice to Dryshod far Removing MOBU dated 3.31.18                              No   10/27/2021   10127/2021
                                                                                               1:35PM       1:35PM
Def-089   Email from D. Hewett to    3.   Donohue dated 6.5.17                            No

Def-090   Invoice for S. Hewett Painting dated 6.5.17                                     No

Def-091   Email from S. Hewett     to).   Donohue dated 5.23.17                           No

Def-092   Emails between). Donahue and S. Xlan dated 1.15.18                              No

Def-093   Email from   3.   Donohue to   3.   Donohue with backyard photo dated 5.31.17   No

Def-094   Notes on Dryshod Features and Names                                             No

Def-095   Photoshop File of Dryshod Camo                                                  No

Def-096   Photoshop File of Dryshod Camo                                                  No

Def-097   Photoshop File of Dryshod Camo                                                  No

Def-098   Photoshop File of Dryshod Camo                                                  No

Def-099   Photoshop File of Dryshod Camo                                                  No

Def-100   Veil License Agreement dated 2.25.19                                            No

Def-101   Emails between). Doriohue to S. Xian dated 8.2.17                               No

Def-102   Dryshod TechSky Plan dated 8.2.17                                               No

Def-103   NEXT G2 Twill Camo Fabric-Physical Exhibit                                      No   10/26/2021   10/26/2021
                                                                                               1:39PM       12:00AM

Def-104   Receipt for 103 Camo Fabric                                                     No

Def-105   Page 2 of Receipt for 103 Camo Fabric                                           No


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           I                                                                                            I        II          I


Def-106    Realtree Xtra Fabric- Physical Exhibit                                                  No   10/26/2021   10/26/2021
                                                                                                        1:42PM       1:42PM
Def-107    Longleaf Camo Timber Break-Physical Exhibit                                             No   10/26/2021   10/26/2021
                                                                                                        1:43 PM      1:43 PM
Def-108    Longleaf Camo Timber Break-Second Photo of Physical exhibit                             No

Def-109    Receipt for 107                                                                         No

Def-ilO    Page2of Receiptfor 107                                                                  No

Def-111    True Timber New Conceal Camo-Physical Exhibit                                           No   10/26/2021   10/26/2021
                                                                                                        1:45PM       1:45PM
Def-112    Receipt for 111                                                                         No

Def-113    Page2of Receiptfor 111                                                                  No

Def-114    Realtree Hardwoods Green Shirt-Physical Exhibit                                         No   10/26/2021   10/26/2021
                                                                                                        1:46PM       1:46PM
Def-115    Realtree Hardwoods Green Shirt-Second photo of physical exhibit                         No

Def-116    Receipt for 114                                                                         No

Def-117    Second page of receipt for 114                                                          No

Def-118    Advantage Timber Pants-Physical Exhibit                                                 No   10/26/2021   10/26/2021
                                                                                                        1:47PM       1:47PM
Def-119    Advantage Timber Pants- second photo of physical exhibit                                No

Def-120    Receipt for 118                                                                         No

Def-121    Page 2 of Receipt for 118                                                               No

Def-122    Realtree Edge shirt-Physical Exhibit                                                    No   10/26/2021   10/26/2021
                                                                                                        1:47PM       1:47PM
Def-123    Realtree Edge Shirt-Second photo of physical exhibit                                    No

Def-124    Receipt for 122                                                                         No

Def-125    Lynch Superflauge Game Shirt-Physical Exhibit                                           No   10/26/2021   10/26/2021
                                                                                                        1:49PM       1:49PM

Def-126    Lynch Superflauge Game Shirt-second photo of physical exhibit                           No

Def-127    Receipt for 125                                                                         No

Def-128    Page 2 of Receipt for 125                                                               No

Def-129    True Timber HTC Green Cap-Physical Exhibit                                              No

Def-130    Read Head Brand Co. True Timber Camo Pants-Physical Exhibit                             No   10/26/2021   10/26/2021
                                                                                                        1:49 PM      1:49 PM
Def-131    Red Head Brand Co. True Timber Camo Pants-Second Photo            of Physical Exhibit   No

Def-132    Red Head Brand Co. True Timber Camo Pants-Third Photo of Physical Exhibit               No   10/26/2021   10/26/2021
                                                                                                        1:50PM       1:50PM
Def-133    Receipt for 129 and 130                                                                 No

Def-134    Kings Woodland Shadow Camo Shirt       - Physical Exhibit                               No   10/26/2021   10/26/2021
                                                                                                        1:51 PM      1:51 PM
Def-135    Kings Woodland Shadow Camo Shirt         -   Second Photo of Physical Exhibit           No

Def-136    Receipt for 134                                                                         No

Def-137    Page 2 of Receipt for 134                                                               No

Def-138    Realtree Hardwoods Green Hat      Physical Exhibit                                      NO

Def-139    Receipt for 138                                                                         No

Def- 140   Page 2 of Receipt for 138                                                               No

Def-141    True Timber Camo Hat      Physical Exhibit                                              No   10/26/2021   10/26/2021
                                                                                                        1:51 PM      1:51 PM

Def-142    Receipt for 141                                                                         No

Def-143    Page 2 of Receipt for 141                                                               No
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          I             I                                                                               I        II
Def-144   Kings Woodland Shadow Camo Hat                  Physical Exhibit                         No

Def-145   Receipt for 144                                                                          No

Def-146   Hybricam Grey Bark Camo Hat        -   Physical Exhibit                                  No   10/26/2021   10/26/2021
                                                                                                        1:52 PM      1:52 PM
Def-147   Receipt for 146                                                                          No

Def-148   Page 2 of Receipt for 146                                                                No

Def-149   Matrix Camo Cushion     - Physical     Exhibit                                           No   10/26/2021
                                                                                                        1:54 PM

Def-150   Receipt for 149                                                                          No

Def-151   Page 2   of Receipt for 149                                                              No

Def-152   Realtree Advantage Timber Cloth         -   Physical Exhibit                             No   10/26/2021   10/26/2021
                                                                                                        1:54PM       1:54PM
Def-153   Receipt for 152                                                                          No

Def-154   Page 2 of Receipt    for 152                                                             No

Def-155   Realtree Edge Fabric   -   Physical Exhibit                                              No   10/26/2021   10/26/2021
                                                                                                        1:55 PM      1:55 PM
Def-156   Real Tree Edge Fabric       Second Photo of Physical Exhibit                             No

Def-157   Receipt for 155                                                                          No

Def458    Page 2   of Receipt for 155                                                              No

Def-159   Hisea Camo Boots in TrueTimber Kanati               Physical Exhibit                     No

Def-160   Hisea Camo Boots in TrueTimber Kanati - Second Photo of Physical Exhibit                 No   10/26/2021   10/26/2021
                                                                                                        1:56 PM      1:56 PM
Def-161   Hisea Camo Boots in TrueTimber Kanati               Third Photo of Physical Exhibit      No

Def-162   Hisea Camo Boots in TrueTimber Kanatl - Fourth Photo               of Physical Exhibit   No

Def-163   Receipt for 159                                                                          No

Def-164   Page 2   of Receipt for 159                                                              No

Def-165   Hisea Canio Boots in NC Vista          Physical Exhibit                                  No

Def-166   Hisea Camo Boots in NC Vista - Second Photo of Physical Exhibit                          No   10/26/2021   10/26/2021
                                                                                                        1:57PM       1:57PM
Def-167   _Hisea Camo Boots in NC Vista           Third Photo of Physical Exhibit                  No

Def-168   Receipt for 165                                                                          No

Def-169   Page 2 of Receipt for 165                                                                No

Def-170   S   Hewett Painting - Physical Exhibit                                                   No

Def-171   Dryshod Camo Cloth without MOBU             -   Physical Exhibit                         No

Def-172   Dryshod Camo Cloth with MOBU             Physical Exhibit                                No

Def-173   Dryshod Camo Cloth without MOBU             -   Physical Exhibit                         No

Def-174   Dryshod Camo Boot with MOBU - Physical Exhibit                                           No

Def-175   Dryshod Camo Bootie        Physical Exhibit                                              No

Def-176   Dryshod Camo Boot - Physical Exhibit                                                     No

Def-177   Dryshod MOBU Max Boot          Physical Exhibit                                          No

Def-178   Dryshod Expenses                                                                         No   10/27/2021   10/27/2021
                                                                                                        1:34PM       1:34PM
Def-179   Dryshod   P   and L from 2017 to August 2021                                             No   10/27/2021   10/27/2021
                                                                                                        1:34PM       1:34PM
0ef480    Dryshod Sales by Customer                                                                No   10/27/2021   10/27/2021
                                                                                                        1:34PM       1:34PM
Def-181   Tracking of DS Camo Pattern Shipments and Sourcing Fees                                  No

Def-182   Commisions for L Zhou                                                                    No

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Def-183   Commissions for   L. Peipei                                                     No   10/27/2021   10/27/2021
                                                                                               1:34PM       1:34PM
Def-184   Commisions for S. Xian                                                          No   10/27/2021   10/27/2021
                                                                                               1:34 PM      1:34PM
Def-185   Commissions for Tiger                                                           No

Def-186   Commissions'for Angie                                                           No   10/27/2021   10/27/2021
                                                                                               1:34PM       1:34PM
Def-187   2019 Sales of Dryshod Insight XT Kanati Camo Products                           No

Def-188   2020 Sales of Dryshod Insight XT Kanati Camo Products                           No

Def-189   2020 Sales of Dryshod Veil Whitetail Camo Products                              No

Def-190   2020 Sales of Dryshod Strata Camo Products                                      No

Def-191   2020 Sales of Dryshod Veil Alpine Camo Products                                 No

Def-192   2021 Sales of Dryshod Strata Camo Products                                      No

Def-193   2021 Sales of Dryshod Veil Alpine Products                                      No

Def-194   Licensed Camo Brand Sourcing Fees for Dryshod                                   No

Def-195   Screenshot of Dryshodusa.com dated 9.28.21                                      No   10/27/2021   10/27/2021
                                                                                               12:13PM      12:13PM
Def-196   Screenshot of Dryshodusa.com dated 9.28.21                                      No

Def-197   Screenshot of realtreecom website dated      92821                              No

Def-198   Dryshod Boots with True Timber pattern - Physical Exhibit                       No   10/26/2021   10/26/2021
                                                                                               1:36 PM      1:36 PM
Def-199   Dryshod Boots with True Timber pattern       Second Photo of Physical Exhibit   No   10/26/2021   10/26/2021
                                                                                               1:36 PM      1:36 PM
Def-200   Dryshod Boots with True Timber pattern - Third Photo of Physical Exhibit        No

Def-201   Response to Plaintiff's Demand Letter dated 2.27.18                             No   10/26/2021   10/27/2021
                                                                                               2:19PM       1:04PM
Def-202   Mossy Oak Licensing Application                                                 No

Def-203   Emails between T. Myers and D. Nebraska dated 6.27.17                           No   10/25/2021   10/25/2021
                                                                                               12:33 PM     12:34 PM
Def-204   Emails between T. Myers and D. Nebraska dated 6.28.17                           No

Def-205   Brand Standards for Break-Up Country Logo                                       No

Def-206   2015 Mossy Oak Corporate Brochure                                               No

Def-207   2016 Mossy Oak Corporate Brochure                                               No

Def-208   2019 Mossy Oak Brochure                                                         No

Def-209   2019 Break-Up Country Pattern Book                                              No

Def-210   2011 Mossy Oak Brochure                                                         No

Def-211   2012 Mossy Oak Corporate Brochure                                               No

Def-212   2013 Mossy Oak Corporate Brochure                                               No

Def-213   2014 Mossy Oak Corporate Brochure                                               No

Def-214   Emails between T. Myers and D. Nebraska dated 4.17.17                           No   10/25/2021   10/25/2021
                                                                                               12:32 PM     12:33 PM
Def-215   Letter of Intent from CFD dated 3.16.17                                         No

Def-216   2005 Mossy Oak Brochure                                                         No

Def-217   2002 Mossy Oak Brochure                                                         No

Def-218   2002 Mossy Oak Brochure                                                         No

Def-219   1997 to 1998 Mossy Oak Brochure                                                 No

Def-220   Muck Boot Company Activity Log                                                  No

Def-221   Handwritten Letter                                                              No

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                                                                                        I   I   I



Def-222   Schedule A to Academy License dated 8.20.18                              No

Def-223   Schedule A to Academy License dated 12.4.18                              No

Def-224   Schedule A to Academy License dated 8.20.18                              No

Def-225   Academy License dated 1.1.18                                             No

Def-226   Ariat License dated 5.16.17                                              NO

Def-227   Schedule A to Ariat License dated 8.28.17                                No

Def-228   Baffin Limited License dated 11.1.18                                     No

Def-229   Schedule A to Baffin Limited dated 2.12.19                               No

Def230    Columbia Sportswear License dated 10.1.16                                No

Def-231   Schedule A to Columbia License dated 12.29.17                            No

Def-232   Schedule A to Columbia License dated 11.27.18                            No

Def-233   Double Diamond Distribution Dawgs License dated 12.1.18                  No

Oef-234   Schedule A to Double Diamond Distribution Dawgs License dated 12.4.18    No

Def-235   Kevea License dated 6.1.17                                               No

Def-236   Schedule A to l-livea License dated 9.20.17                              No

Def-237   Honeywell License dated 7.22.15                                          No

Def-238   Schedule A to Honeywell License dated 7.22.15                            No

Def-239   Amendment to Honeywell License dated 4.1.17                              No

Def-240   Schedule A to Honeywell License dated 8.7.16                             No

Def-241   Schedule A to      M   and F Western Products License dated 4.13.18      No

Def-242   Addendum to        M   and   F   Western Products License dated 7.1.12   No

Def-243   M   and   F   Western Products License dated 10.22.05                    No

Def-244   Mason Companies License dated 5 1.18                                     No

Def-245   Schedule A to Mason Companies License dated 8.14.18                      No

Def-246   Outfit International License dated 5.20.18                               No

Def-247   Schedule A to Outfit International License dated 5.20.19                 No

Def-248   Pakems License dated 12.15 18                                            No

Def-249   Schedule A to Pakems License dated 2.12.19                               No

Def-250   Perfect Storm Boot Co. License dated 4.1.18                              No

Def-251   Schedule A to Perfect Storm Boot Co. License dated 10.3.18               No

Def-252   Red Wing Shoe Company License dated 7.1.17                               No

Def-253   Schedule A to Red Wing Shoe Company License dated 5.3.18                 No

Def-254   Rocky Brands License dated 9.23.05                                       No

Def-255   Schedule A to Rocky Brands License dated 11.29.18                        No

Def-256   Schedule A to Rudis Holdings License dated 7.23.18                       No

Def-257   Rudis Holdings License dated 7           1   18                          No

Def-258   Shaf International License dated 10.15. 17                               No

Def-259   Schedule A to Shaf International License dated 10.17.17                  No

Def-260   Schedule A to Shaf International License dated                           No

Def-261   Shoe Fellas License dated 10.17.18                                       No

Def-262   Schedule A to Shoe Fellas License dated 10.3 1.18                        No

Def-263   Schedule A to Skechers License dated 3.8.17                              No

Def-264   Schedule A to Skechers License dated 6 7.18                              No

Def-265   Skechers License dated 10.15.17                                          No


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Def-266   Schedule A to The Sportsman Gwde Inc. License dated 3.27.18            No

Def-267   The Sportsman Guide Inc. License dated 2.21.18                         No

Def-268   Schedule A to The Sportsman Guide Inc. License dated 4.25.18           No

Def-269   USA Dawgs License dated 12.1.18                                        No

Def-270   Schedule A to USA Dawgs License dated 12.4.18                          No

Def-271   Weinbrenner Shoe Co. License dated 10.1.17                             No

Def-272   Schedule A to Weinbrenner Shoe Co. License dated 11.6. 17              No

Def-273   Schedule A to Weinbrenner Shoe Co. License dated 2.18.19               No

Def-274   Amendment to Weinbrenner Shoe Co. License dated 3             1   19   No

Def-275   Weyco Group License dated 1.22.14                                      No

Def-276   Amendment to Weyco Group License dated 1.1.16                          No

Def-277   Schedule A to Weyco Group License dated 6.8.18                         No

Def-278   Schedule A to Weyco Group License dated 10.3.17               /
                                                                                 No

Def-279   Schedule A to Wolverine Worldwide License dated 10.1.18                No

Def-280   Wolverine Worldwide License dated 4.1.18                               No

Def-281   Schedule A to Wolverine Worldwide License dated 5.14.18                No

Def-282   Schedule A to Wolverine Worldwide License dated 2.20.19                No

Def-283   Worldwide Distributors License dated 6.21.16                           No

Def-284   Schedule A to Worldwide Distributors License dated 11.27.18            No

Def-285   Dryshod Nosho Ultra Hunt Boots          Physical Exhibit               No

Def-286   Norcross Safety Products License dated 2 21.03                         No

Def-287   Bottomland Copyright Registration                                      No

Def-288   New Break Up Mini Fabric - Physical Exhibit                            No

Def-289   New Break Up Fabric      Physical Exhibit                              No

Def-290   Rocky Boot with New Break up - Physical Exhibit                        No

Def-291   New Break Up Copyright Certificate with Deposit Images                 No

Def-292   CD with New Break Up Copyright Deposit Images - Physical Exhibit       No

Def-293   6 Foot Paper Copyright Deposit Copy - Physical Exhibit                 No

Def-294   1999 1ossy Oak Brochure                                                No

Def-295   Plaintiff Response Letter dated 3.15.18                                No

Def-296   Muck Boot Company Woody Boot - Physical Exhibit                        No   10/26/2021   10/26/2021
                                                                                      1:57 PM      1:58 PM
Def-297   Dryshod Boot with Dryshod Camo         -   Physical Exhibit            No

Def-298   Dryshod Nosho Ultra Hunt Boots - Physical Exhibit                      No

Def-299   New Break Up Fabric in Heavy Nylon - Physical Exhibit                  No

Def-300   New Break Up Fabric - Physical Exhibit                                 No

Def-301   True Timber Kanati fabric        Physical Exhibit                      No

Def-302   Dryshod Camo Fabric - Physical Exhibit                                 No

Def-303   Dryshod MOBU Shredder Boot           Physical Exhibit                  No

Def-304   Muck Boot Arctic Pro Boot    -   Physical Exhibit                      No

Def-305   Duxbak Shirt     Physical Exhibit                                      No

Def-306   Trebark Fabric    Physical Exhibit                                     No

Def-307   Plaintiff's Responses to Interrogatories                               No

Def-308   Plaintiff's Supp. Responses to Interrogatories                         No



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          I          S                                                                      I           I    I      I



Def-309   Emails between M. Donohue and C. Hahn dated 3.16.18                          No

Def-310   C. Hahn First Round Sample Meeting Notes dated           3.22.17             No   10/25/2021
                                                                                            3:08   PM

Def-311   C. Hahn Second Round   Sample Meeting Notes dated 7.10.17                    No

Def-312   Distributor Meeting Notes dated 1.16.18                                      No

Def-313   Emails between C. Hahn, 3. Srednicki, and 3. Donohue dated 1.17.18           No

Def-314   Emails between C. Hahn,   3.   Srednicki, and   3.   Donohue dated 6 12.17   No

Def-315   Emails between C. Hahn and 3. Srednicki dated 1.30.18                        No

Def-316   Notes on Dryshod Product Program                                             No

Def-317   Emails between 3. Donohue and Peipei dated 1.28. 18                          No

Def-318   AWL Invoice dated 6.9.19                                                     No

Def-319   DS Project Monthly cashflow account                                          No

Def-320   AWL Invoice dated 8.21.17                                                    No

Def-321   Emails between 3.Donohue and True Timber dated 1.2.19                        No

Def-322   Emails between 3. Srednicki, C. Hahn, and 3. Donohue dated 1.5.18            No

Def-323   Emails between 3. Donohue and B.Hahn dated 4.19.18                           No

Def-324   MOBU TM Application                                                          No   10/26/2021      10/26/2021
                                                                                            11:41 AM        11:41 AM
Def-325   Notice of Opposition to MOBU Application                                     No

Def-326   Notice of Publication of MOBU Application                                    No   10/26/2021      10/26/2021
                                                                                            11:42AM         11:42AM




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